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                              Exhibit 1
                    Code of Student Life
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               Rules and Procedures for Students
                      Updated August 2020


             CODE OF STUDENT LIFE
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                                  Welcome to the West Texas A&M University community! It is our
                                  hope that you find an environment that supports your success as a
                                  student, and to that end, this document outlines the community
                                  standards that, when upheld by all, will support that environment.
                                  Upholding these standards is a responsibility of all members of our
                                  community.


                                  While this document outlines some general prohibitions of conduct
                                  contrary to the building of a positive learning environment, it also
                                  lays your rights as a student, and we hope you will pay close
                                  attention to those.


                                  We seek a community of learners where mutual respect, between
                                  and among students, faculty, staff and administration, allows for
                                  meaningful and productive dialogue, and this document represents
                                  our intent to balance those rights, responsibilities, and the various
                                  levels of authority.


                                  We encourage you to familiarize yourself with the processes and
                                  guidelines found within. If you have any questions along the way,
                                  please contact us in the Office of the Vice President for Student
                                  Enrollment, Engagement and Success, located in suite 102 of the
                                  Jack B. Kelley Student Center.


                                  Good Luck and Go Buffs!




                                  Mike Knox
                                  Vice President for Student Enrollment, Engagement and Success




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                                                      FORWARD



GENERAL PURPOSE
A university, like any community, must have regulations and/or standards by which its members abide and procedures
by which its organization functions. The standards should provide order and an atmosphere conducive to intellectual and
personal development. This Code of Student Life is intended to serve these purposes in the interest of all segments of
West Texas A&M University (WTAMU).
The university has a responsibility to maintain order within the university community and to discipline those who
violate its standards, rules, and/or policies. Enrollment requires students to share this responsibility. Students agree to
abide by the standards, rules and/or policies set forth in the Code of Student Life, the Undergraduate Catalog and
other official University publications, as well as the Texas Education Code. Student organizations also agree to follow
these standards, rules, and/or policies.
As members of the academic community, university students enjoy the privileges and share the obligations of the
larger community of which the university is a part. Students are entitled to the privileges which accrue to them by virtue
of this membership. These privileges carry with them the obligations of responsible citizenship. Students shall conform
to university regulations. Students should recognize that citizenship also includes contributing deliberately to
strengthening the educational community, improved learning for themselves and their classmates and promoting
excellence within the above context. Freedom of discussion, inquiry and expression is protected and nurtured in the
classroom as the safeguard of the freedom to learn.
Students are expected to exercise their freedom to learn in a manner consistent with the maintenance of good order.
Responsibility for maintaining good order in the classroom is vested in the instructor. The Code of Student Life
outlines the standards of behavior for university students and the disciplinary processes to address misconduct.
WEST TEXAS A&M UNIVERSITY MISSION STATEMENT
West Texas A&M University is a diverse and inclusive student-centered community of learners that:
   provides a technology-rich, academically rigorous educational experience at the undergraduate and graduate
      levels;
   cultivates opportunities to develop critical thinking and problem solving skills, information literacy, and
      ethical behavior;
   directs resources in support of empowering co-curricular experiences;
   maintains focus on the development of future leaders for our community, the state, the nation, and the world; and
   Serves through education, research, and consultation as a catalyst for economic development and
      enhancement of the quality of life for the region.
WEST TEXAS A&M UNIVERSITY VISION STATEMENT
Guided by its pioneering spirit, West Texas A&M University will be recognized for its excellence in teaching and
learning, with a strong focus on engaging students in challenging and meaningful experiences that aid in their
intellectual and personal development. WTAMU alumni will be scholar-leaders empowered to advance their chosen
field, to impact their communities, and to pursue excellence.
WEST TEXAS A&M UNIVERSITY CORE VALUES
West Texas A&M University holds these core values as those principles that the University will not compromise, even to
overcome obstacles or achieve short-term gain:
    academic and intellectual freedom
    pursuit of excellence in all endeavors
    creativity and innovation
    respect for the dignity of all individuals
    cooperation and communication
    community service and leadership
    exceed expectations of internal and external customers




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      continuous improvement
      integrity
      diversity
STUDENT CENTERED PHILOSOPHY
The development of a student-centered philosophy is a dominant theme in both the strategic planning and curriculum
assessment processes at West Texas A&M University. Since the student-centered approach permeates and influences all
aspects of the University, it is essential that the philosophy is well defined and understood by all members of the University
community.
A student-centered University community is entirely committed to ensuring that students have opportunities to succeed in
their academic, co-curricular, extra-curricular, social, moral, and civic endeavors while they are enrolled as our students and
throughout the remainder of their lives. All members of a student-centered University community assist students in
achieving their individual academic and personal goals while meeting the goals described in the University’s mission
statement. The student-centered institution inspires students to develop the attitudes and skills that are essential to a
rewarding life of learning, leadership and service.

WTAMU exists first and foremost to provide a superb education to its students. Students and their development must be at
the heart of all that we do. Furthermore, excellence in teaching is the sine qua non of our existence as an institution of
higher education. In a student-centered environment, we are committed to the continuous improvement of our academic
programs; we are committed to challenging students to excel; we are committed to providing students with timely feedback
and assessment of their progress; we are committed to constantly adapting our pedagogy to provide a learning
environment consistent with students’ learning styles; and we are committed to increasing students’ personal responsibility
for learning by providing participatory learning opportunities. In a student-centered environment, our course schedules and
classroom allocations are designed to best meet the needs of our students and maximize learning. Our student support
services are accessible, inviting and structured to help students achieve their personal goals.
Although a student-centered University strives to promote student success, the relaxation or reduction of academic
standards or expectations cannot be considered as being a contribution to success. Students must be held to high
standards in the classroom, in performances, in exhibiting their work, on the athletic field, or in any other arena of student
endeavor. Expectations and goals are important aspects of the student-centered philosophy and must be encouraged
campus wide.

A student-centered University enforces the rules, regulations, and policies fairly and consistently for all students. The
interests of a single student or a group cannot outweigh the interests of the student community as a whole. Our most
important contacts with students occur in teaching and advising interactions, but critical interactions also occur in
admissions, registration, financial aid, residential life, and career services offices. It is imperative that the encounters
students have with all employees at WTAMU be productive and pleasant. In other words, all University employees must be
empowered and willing to solve the problems that students bring to their doorsteps.

The mission of WTAMU is to be a student-centered learning community dedicated to educating tomorrow’s leaders through
innovative academic and co-curricular undergraduate programs. Our role is to provide opportunities for students to reach
their personal goals in a supportive, student-centered environment. Our goal is to exceed the expectations of our students,
their parents, and the community that we serve. Each member of the University community is responsible for ensuring that
WTAMU is student-centered.


TAMUS “DO THE RIGHT THING” STATEMENT
The A&M System is dedicated to adhering to the highest ethical standards and principles. If you have factual information
suggestive of fraudulent, wasteful or abusive activities, we want you to report it. Examples of reportable issues include
fraud; misuse of resources or information; violations of safety rules; inappropriate conduct, harassment or discrimination.
We encourage you to report such issues through the Risk, Fraud and Misconduct Hotline, an anonymous telephone and
web-based reporting system. Call 1-888-501-3850 or select “file a report” at the top of the page at www.ethicspoint.com.
The hotline is independently operated and available 24 hours a day, seven days a week.

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The Student Bill of Rights, Student Responsibilities, Student Disciplinary Rights, Victim’s Rights and Academic Bill of Rights
do not serve to limit or infringe upon any other right a person may be afforded. Violations of these rights shall be referred to
the appropriate hearing body.
PHOTOGRAPHY AND RECORDING OF STUDENTS AND EMPLOYEES
WTAMU reserves the right to photograph and record (through the use of still, video, audio or other medium) students and
employees on campus and at University-sponsored functions and events. The University reserves the right to use,
broadcast, distribute and/or publish any part of such images, likenesses, voices, appearances and/or performances for
promotional, advertising, educational or other honorable purposes.
AFFIRMATIVE ACTION/EQUAL OPPORTUNITY
WTAMU serves people of all ages, regardless of socioeconomic level, race, color, gender, religion, sexual orientation,
disability and/or national origin. WTAMU is an affirmative action/equal employment opportunity institution.
PROCEDURES AND RULES FOR STUDENTS
The procedures and rules contained in this document are subject to change, without notice, by the president of WTAMU.
These rules and procedures may also be adjusted, as needed, based on the A&M System, federal and/or state mandated
requirements. The A&M System rules will take precedence.
STUDENT BILL OF RIGHTS
   1. Students have the right to inquire about and to recommend improvements in rules and procedures affecting the
      welfare of students.
   2. Students have the right to form or join any association for the purpose of examining and discussing all questions of
      concern to them including questions relating to University actions, procedures and rules.
   3. Students have the right to participate in a free exchange of ideas within parameters of appropriate classroom
      decorum, and there shall be no University rule or administrative procedure that in any way abridges the rights of
      freedom of speech, press, expression, petition and peaceful assembly as set forth in the United States
      Constitution.
   4. Students shall be treated on an equal basis in all areas and activities of the University, regardless of race, creed,
      color, religion, gender, age, disability, national origin and/or sexual orientation.
   5. Students have the right to personal privacy except as otherwise provided by law.
STUDENTS’ RESPONSIBILITIES
   1. Students have the responsibility to respect the rights and property of others, including other students, staff, faculty
      and administration.
   2. Students have the responsibility to be fully acquainted with the published University rules and procedures and to
      comply with them and the laws of the land.
   3. Students have the responsibility to recognize that student actions reflect upon the individuals involved and upon the
      entire University community.
   4. Students have the responsibility to recognize the University’s obligation to provide an environment for learning and
      to conduct themselves in a manner compatible with the functions and purposes of WTAMU.
   5. Students have the responsibility to keep the Office of the Registrar informed of current local and permanent
      addresses, telephone numbers, and email addresses. (Communications sent to any address of record will be
      deemed to be adequate notice.)
   6. It is the student’s responsibility to accept/receive official University documents whether delivered by mail,
      University email or staff. A document so delivered shall constitute full and adequate notice of the information
      provided therein. The failure of a student to provide an address change or forwarding address or the refusal to
      accept/receive a letter (delivered by University mail or by staff) shall not constitute good cause for failure to comply
      with the content of the official University correspondence. The expectation of WTAMU is the student will check
      their official University email account regularly.
   7. It is the student’s responsibility to provide his/her identification upon request of University officials.



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STUDENT DISCIPLINARY RIGHTS
Prior to the formal hearing process, a student will be provided a student disciplinary rights document. This document will be
reviewed and signed by the student prior to an interview with the student conduct officer. The student disciplinary rights
document informs the student of his or her rights to be exercised before and during the conduct process. Those rights
include:
     1. To refrain from making any statement relevant to the investigation. Students have the right to refuse to participate in
          the investigation process, either in part or entirely. However, a student’s refusal to participate in the investigation,
          in whole or in part, lasts for the duration of the conduct process. If a student does not provide information during
          the investigation, he or she will not be allowed to present new information during the hearing; similarly, if a student
          provides only limited information during the investigation (i.e., answering some of the investigator’s questions but
          not others), then during the hearing, the student will only be permitted to speak to the information he or she
          provided, with no additional commentary.
     2. To receive notification of the alleged misconduct.
     3. To know the source of the allegation(s).
     4. To know the specific alleged violation(s) prior to the formal hearing.
     5. To know the sanctions, conditions and/or restrictions that may be imposed because of the alleged violation(s).
     6. To be accompanied by an adviser at any Office of Student Conduct proceeding or any other related proceeding.
          An “adviser” can be any one of the following: a member of the WTAMU community (faculty, staff, or student), a
          victim’s advocate, a parent or legal guardian, a relative, or in situations involving criminal legal proceedings, an
          attorney. An adviser’s role is that of support – he or she may not speak on behalf of the student and does not have
          an active, participatory role in the conduct process. If an adviser for the accused student is an attorney, an attorney
          from the Office of General Counsel may attend the hearing on behalf of the University. The complainant and/or the
          student accused of alleged misconduct is responsible for presenting his or her own information. Students should
          select an adviser whose schedule allows attendance at the scheduled date and time for the hearing, as delays will
          not be allowed due to the scheduling conflicts of an adviser, except at the discretion of a student conduct officer
          upon written request five (5) University working days in advance of the scheduled hearing date. The complainant
          and/or respondent must notify the Office of Student Conduct if an adviser will be present. The Office of Student
          Conduct may not allow an adviser if the notice occurs with less than two (2) University working days prior to the
          hearing.
     7. To have the opportunity to respond to the allegation(s) and/or present information.

     Know that if it is discovered that the student made any false or misleading statement(s) during the student conduct
     process, that student will be subject to further disciplinary action under the Code of Student Life.
VICTIM’S RIGHTS
    1. When allowed by law (i.e. in cases of sexual assault) the victim shall be informed as well as allowed to be present
       and heard at all crucial stages of the student conduct process. Victims may inquire as to how the procedures work
       for a student conduct process.
    2. The victim shall be informed about the availability of crime victim’s compensation and other victim’s services by
       contacting the victim assistance coordinator of the University Police Department.
    3. The victim shall be protected from intimidation.
    4. The victim shall be protected from retaliation.
    5. The victim shall have the right to submit a victim impact statement.
    6. The victim shall have the right to seek restitution from the offender.
    7. The victim shall have the right to have the proceeding’s officer take the safety of the victim or his/her family into
       consideration as an element in determining the final disposition for the accused.
    8. The victim shall have the right, upon request, to be provided with a waiting area, separate or secure from other
       witnesses, including the accused offender and relatives of the accused offender before testifying in any proceeding
       concerning the accused offender; if a separate waiting area is not available, other safeguards should be taken to
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         minimize the victim’s contact with the accused offender and the accused offender’s relatives and witnesses, before
         and during the proceedings.
    9.   The victim shall have the right to seek legal counsel. The counsel may advise the student but not present the case.
ACADEMIC BILL OF RIGHTS
   1. Students have protection through University procedure against arbitrary, capricious, prejudice or unfair academic
      evaluation.
   2. Students have the right to appeal academic suspension through the appropriate University channel.
   3. Students have the right to appropriate personal contact with faculty, professional staff and other students in an
      academic setting.
   4. Students have the right to inspect and review their educational records and to petition to change their records upon
      proof of error. This right will hold unless it is specifically waived.
   5. Within the parameters of overall University procedures and rules, students have the right to evaluate faculty
      members.
   6. Students have the right to expect a quality education.

    The purpose of the WTAMU copyright rules and regulations is to outline the respective rights which members of its
    faculty, staff and student body have in copyrightable materials created by them while affiliated with the University. The
    University claims a financial interest in such matters when an individual makes significant use of University funds,
    space, equipment, or facilities administered by the University or if significant amounts of University time have been
    devoted to development of intellectual property in original works of authorship. The entire Texas A&M University
    System policy regarding intellectual property can be accessed online at http://policies.tamus.edu/17-01.pdf.
FREE SPEECH AND ADVOCACY ON CAMPUS
As an institution of higher learning, WTAMU values free inquiry and free expression. The rights of campus speakers to
speak and audiences to hear, free from undue disruption and interference, are constitutionally protected rights. When
guests are invited to the University, they may express their ideas not only because they have a right to do so, but because
members of the campus community have a right to hear, see and experience diverse intellectual and creative inquiry.
Those within the campus community and those invited or permitted to speak or assemble on campus will be
accommodated subject to the regulations regarding time, place and manner set out in the University rule/procedure on free
speech and advocacy.




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                                          P A R T I: CODE OF STUDENT CONDUCT



SECTION A: STUDENT CONDUCT MISSION AND POLICIES
The code of student conduct outlines behavioral standards developed by the University community for students and student
organizations and the related procedures for addressing misconduct. Students should be aware that the student conduct
process is not a criminal or civil court proceeding. Students and student organizations are responsible for actions that
constitute misconduct and violate the code of student conduct. Any student or student organization found responsible for
misconduct may be subject to conduct sanctions. The University provides a fair and equitable student conduct process,
utilizing a thorough, neutral, and impartial investigation, from which is generated a prompt resolution.
The code of student conduct and related processes educate students about their rights and responsibilities while promoting
holistic development, self-worth, and mutual respect for all members of the University community. Freedom of discussion,
inquiry and expression is also fostered by an environment in which the privileges of citizenship are protected and the
obligations of citizenship are understood.

The Office of Student Conduct is committed to an educational and developmental process that balances the interests of
individual students with the interests of the University community. No student will be found in violation of University policy
without sufficient information and evidence showing that it is more likely than not that a policy violation occurred and any
sanctions will be proportionate to the severity of the violation and to the cumulative conduct history of the student.
The student conduct process at the University exists to protect the interests of the community and to challenge those whose
behavior is not in accordance with our policies. Sanctions are intended to challenge students' moral and ethical decision-
making and to help them bring their behavior into accord with our community expectations and values. When a student is
unable to conform their behavior to community expectations, the student conduct process may determine that the student
should no longer share in the privilege of participating in this community.
    1.   DISCIPLINARY AUTHORITY
         The authority to enact and enforce regulations of the University is vested in the Board of Regents. The
         responsibility for enforcing the regulations and imposing penalties is delegated to the President of the University
         and any University officials the President designates. The Vice President for Student Enrollment, Engagement and
         Success (VPSEES) is the principal agency for the administration of student conduct. The assistant vice president
         for student enrollment, engagement and success shall implement the student discipline procedures. The VPSEES,
         the assistant VPSEES, or designee, will assume responsibility for the investigation of an allegation of misconduct to
         determine if the complaint has merit.
    2.   JURISDICTION
         The Code of Student Life shall apply to conduct that occurs on University premises and/or at University-sponsored
         activities or any other activity which adversely affects the University community and/or the pursuit of its objectives
         (mission). This action may be taken for either affiliated or non-affiliated activities.
         The University may take action in situations occurring off University premises involving student misconduct
         demonstrating flagrant disregard for any person or persons; or when a student’s or student organization’s behavior
         is judged to threaten the health, safety, and/or property of any individual or group. Using his/her sole discretion, the
         VPSEES or his/her designee shall decide whether the Code of Student Life shall be applied to conduct occurring
         off campus, on a case-by-case basis.
    3.   TIMELINE
         It is recommended that reports of alleged violations of the Code of Student Life should be received by the Office of
         Student Conduct within ten (10) University working days of the alleged incident to initiate conduct procedures.
         There is no time limit on reporting violations; however, the longer someone waits to report an offense, the more
         difficult it becomes to obtain information and evidence regarding the incident(s).
         Incident(s) should be resolved within 60 days of notice regarding the incident, not including appeal. This timeline
         may vary depending on the availability of students to participate in the process, availability of evidence, delays for
         concurrent criminal investigations, breaks between academic semesters, and other delays.
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4. NOTICE
     Notice is deemed to have been properly provided when written notification is sent to the student’s official assigned
     WTAMU email address, placed in First Class U.S. Mail, campus mail, or personally delivered to the student no less
     than five (5) University working days prior to the scheduled appearance. Failure of a student to receive notice which
     was properly delivered does not prevent the conduct proceedings from being carried out. After proper notice has
     been given to the student, the student conduct officer or designee may proceed with the review process and may
     issue a failure to comply code violation against the student. NOTE: Students are advised to keep their most current
     email address, local address, permanent address, and local telephone number updated in the student records
     system at
     https://www.wtamu.edu/webres/File/Reg%20Change%20of%20Stu%20Info%20Form%202_6_2019.pdf
5.   FAMILY EDUCATIONAL RIGHTS AND PRIVACY ACT (FERPA)
     Annually, WTAMU informs students of the Family Educational Rights and Privacy Act of 1974 (FERPA), as
     amended. This act, with which the institution intends to comply fully, was designated to protect the privacy of
     education records, to establish the right of students to inspect and review their education records, to provide
     guidelines for the correction of inaccurate or misleading data through informal and formal hearings, and to submit
     an explanatory statement for inclusion in the education record if the outcome of the hearing is unsatisfactory.
     Students have the right to file complaints with the Family Educational Rights and Privacy Act Office of the
     Department of Education in Washington, D.C., concerning alleged failures by the University to comply with the act.
     Written complaints should be directed to:
                Family Policy Compliance Office
                U.S. Department of Education
                400 Maryland Avenue, SW
                Washington, D.C. 20202-5920
     Local rule/procedure explains in detail the procedures to be used by the institution for compliance with provisions of
     the act. Copies of the policy may be obtained at the Office of the Registrar, located in Old Main, Room 103, on the
     WTAMU campus. Questions concerning the Family Educational Rights and Privacy Act may be referred to the
     Office of the Registrar. Directory information includes student’s name, gender, local and permanent address,
     telephone number, date and place of birth, marital status, major field of study, classification, enrollment status (full-
     time, part-time, undergraduate, graduate), participation in recognized activities and sports, height and weight (if a
     member of an athletic team), date of attendance, degrees, awards and honors received, the most recent
     educational institution attended, and other information which would make the student’s identity easily traceable.
     Students have the right to consent to disclosures of personally identifiable information contained in the student’s
     education records, except to the extent that FERPA authorizes disclosure without consent. One exception that
     permits disclosure without consent is disclosure to school officials with legitimate educational interests. A school
     official is a person employed by the University in an administrative, supervisory, academic, research or support staff
     position (including law enforcement unit personnel and health staff); a person or company with whom the University
     has contracted (such as an attorney, auditor or collection agent); a person serving on the Board of Regents; or a
     student serving on an official committee, such as a disciplinary or grievance committee, or assisting another school
     official in performing his or her tasks. A school official has a legitimate educational interest if the official needs to
     review an education record in order to fulfill his or her professional responsibility. Upon request, the University
     discloses education records without consent to officials of another school in which a student seeks or intends to
     enroll.
     According to FERPA, the University may release information without the student’s written consent to the following:
      School officials, as identified by the University, determined by the University to have a legitimate educational
        interest;
      Officials of other institutions in which the student seeks to enroll;
      Persons or organizations providing to the student financial aid, or determining financial aid decisions;
      Accrediting organizations carrying out their accrediting functions;
      Parents of a student who have established that student’s status as a dependent according to IRS code of 1986,


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          Section 152;
      Persons in compliance with a judicial order or a lawfully issued subpoena; and
      Persons in an emergency, if the knowledge of information, in fact, is necessary to protect the health or safety of
          the student and/or other persons.
         Directory information may be disclosed unless students or parents request, in writing, that specific information
          not be divulged. Requests must be filed with the Office of the Registrar by the twelfth class day of each
          semester.
     PARENTAL NOTIFICATION
     Violations of the alcoholic beverages or narcotics or drugs standard may result in notification to the
     parents/guardians of dependent students under the age of 21. Typically, parental notification will only take place
     after a second violation. However, the VPSEES and his delegate in the student conduct office reserves the right to
     notify parents based on the severity of an offense, or when there is a concern for the safety or wellbeing of a
     student or the campus community.

     For more information, go to www.ed.gov/print/policy/gen/guid/fpco/ferpa/students.html.
6.   STANDARD OF EVIDENCE
     The hearing officer will make the decision to allow evidence. The standard of proof used in University conduct
     proceedings is the preponderance of evidence, or more likely than not.
7.   REPORTING ALLEGATIONS OF MISCONDUCT
     To file allegation(s) of misconduct against student(s) or student organization(s), individuals should complete an
     Online incident report form, https://www.wtamu.edu/student-support/counseling-services/counseling-fac-about-the-
     bit.html The written allegation should describe the action or behavior in question. Individuals may also file a report
     in person at the Office of the Vice President for Student Enrollment, Engagement and Success, Jack B. Kelley
     Student Center, Suite 102.
8.   REMEDIES
     The University will take immediate action to eliminate hostile environments, prevent reoccurrence and address any
     effects on the victim and community. This includes immediate steps to protect complainants even before the final
     outcome of the investigations, including prohibiting the respondent from having any contact with the complainant.
     These steps will attempt to minimize the burden on the complainant while respecting due process rights of the
     respondent. Remedies for students may include, but are not limited to: counseling services, victim’s advocate
     assistance, modifications to on-campus housing, modifications to parking permissions, and modifications to
     academic schedule. Remedies will be evaluated on a case-by-case basis.
     a.    INTERIM SUSPENSION OF A STUDENT
           A student may be temporarily suspended pending completion of conduct procedures if, in the judgment of the
           VPSEES, or a designee, the physical or emotional well-being of a student, other students or members of the
           University community could be endangered or if the presence of the student could significantly disrupt the
           normal operations of the University. The VPSEES or designee will initiate appropriate conduct procedures to
           address the disruptive behavior within five (5) University working days from the date of interim suspension.
           Upon immediate interim suspension, the student may no longer attend classes, University sponsored events,
           use University services and/or resources, and is not allowed to be on campus until the conduct proceedings
           have been concluded. Any instances whereby the student should need to return to campus must be
           coordinated through the Office of Student Conduct and the University Police Department.
           Conduct, on or off campus, which typically results in interim suspension:
                • A significant and articulable threat to the health or safety of a student or other member(s) of the
                     University community.
                • Sexual assault, other forms of sexual misconduct, stalking, and relationship violence that create a
                     hostile environment for the victim and the remedy for the harassment requires temporary separation.
                • Criminal felony charges related to weapons, drugs, aggravated assault, and/or terroristic threats.


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                    Severe disruption in the academic community related to erratic behavior, threats, property damage,
                     and/or verbal aggression with another student, where the offending student is uncooperative with
                     staff requests.
                     Violation of a no contact order.
                     Retaliatory harm, discrimination or harassment.
     b.    INTERIM SUSPENSION OF A STUDENT ORGANIZATION
           If it is determined that a student organization’s actions or activities are detrimental to the educational purposes
           of the University and/or not in accordance with the Code of Student Life, that student organization will not be
           officially registered with the Office of Student Engagement and Leadership. The registration of a student
           organization may be temporarily suspended while an investigation is pending involving an alleged violation of
           registered student organization rules and regulations as outlined in the Code of Student Life. The registered
           student organization will be afforded all due process guidelines as described in the Code of Student Life.
           Conduct, on or off campus, of members of a student organization that typically results in interim suspension:
                     Violent or harassment-type hazing.
                     Organization events and activities resulting in allegations against individual students that typically
                        result in individual student interim suspension (See 8A).
                     Cease and desist directives from regional or national organizations.
                     Alcohol/drug rule/procedure violations during recruitment or social events.
9.   CONDUCT OUTCOMES/FINDINGS
     A student conduct officer may impose sanctions, conditions and/or restrictions as a result of an initial conference or
     formal hearing where the student is found responsible.
     a.     SANCTION(S)
            Sanctions are defined as the primary outcome of the alleged violation.
               Disciplinary Reprimand
                   An official warning that the student’s conduct is in violation of WTAMU student rules.
               Disciplinary Probation
                   Disciplinary probation is a period of time during which a student’s conduct will be observed and
                   reviewed.
               Deferred Disciplinary Suspension
                   Deferred disciplinary suspension is a period of time where a disciplinary suspension may be deferred
                   for a period of observation and review.
               Disciplinary Suspension
                   Time-limited disciplinary suspension is a specific period of time in which a student is not allowed
                   to participate in class or University-related activities.
               Disciplinary Expulsion
                   Disciplinary expulsion occurs when the student is permanently withdrawn and separated from the
                   University.


            A condition is an additional component of a disciplinary sanction. A condition is usually an educational or
            personal element that is to occur in conjunction with the assigned sanction. Some examples of conditions
            include, but are not limited to:
                  Personal and/or academic counseling intake session.
                  Discretionary educational conditions and/or programs of educational service to the University and/or
                     community.
                  Residence hall relocation and/or contract review/cancellation of residence hall contract and/or use of
                     dining facilities.
                  Restitution or compensation for loss, damage or injury, which may take the form of appropriate
                     service and/or monetary or material replacement.
                  Monetary assessment owed to the University.
                  Completion of an alcohol or drug education program.

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                       A specified number of hours of community/University service.
b.               RESTRICTION(S)
                 A restriction is an additional component of a disciplinary sanction. A restriction is to occur in conjunction with
                 the sanction and will usually be time specific. Some examples of restrictions include, but are not limited to:
                       Revocation of parking privileges.
                       Denial of eligibility for holding office in registered student organizations.
                       Denial of participation in extracurricular activities.
                       Prohibited access to University facilities and/or prohibited direct or indirect contact with members of
                           the University community.
                       Loss of privileges on a temporary or permanent basis.
10.       APPEAL PROCEDURE
          A student may appeal the decision or the sanction(s), condition(s) and restriction(s) imposed by the Office of
          Student Conduct by submitting a written petition to the VPSEES office within five (5) University working days of
          receiving the written decision.
          The petition must clearly set forth the grounds for the appeal, together with the evidence upon which the appeal is
          based. A disagreement with the decision alone shall not constitute grounds for appeal. The only proper grounds for
          appeal, and the only issues that may be considered on appeal are as follows:
                a.   A procedural [or substantive error] occurred that significantly impacted the outcome of the hearing (e.g.
                     substantiated bias, material deviation from established procedures, etc.);

                b.   The discovery of new evidence, unavailable during the original hearing or review of the case, which could
                     substantially impact the original finding or sanction. A summary of this new evidence and its potential
                     impact must be included; and
                c.   The sanctions imposed substantially vary from the range of sanctions normally imposed for similar
                     infractions.
          The VPSEES office has ten (10) University working days to make a decision on the appeal.

      11. AMNESTY
          a.    FOR VICTIMS
                The University provides amnesty to victims who may be hesitant to report to WTAMU officials because they
                fear that they themselves may be accused of rule/procedure violations, such as underage drinking, at the time
                of the incident. Educational options will be explored, but no conduct proceedings or conduct record will result.
          b.    FOR THOSE WHO OFFER ASSISTANCE
                To encourage students to offer help and assistance to others, University pursues a rule/procedure of amnesty
                for minor violations when students offer help to others in need. At the discretion of the Director of Student
                Conduct, amnesty may also be extended on a case-by-case basis to the person receiving assistance.
                Educational options will be explored, but no conduct proceedings or conduct record will result.
          c.    FOR THOSE WHO REPORT SERIOUS VIOLATIONS
                Students who are engaged in minor violations but who choose to bring related serious violations by others to
                the attention of the University are offered amnesty for their minor violations. Educational options will be
                explored, but no conduct proceedings or record will result.
                Abuse of amnesty requests can result in a decision by the VPSEES not to extend amnesty to the same person
                repeatedly.
      12. ANONYMITY
          WTAMU understands the sensitive nature of some incidents of alleged misconduct. Further, the University is
          mindful of a complainants’ desire, in some cases, to report an incident without disclosing their name or other
          identifying information. WTAMU always attempt to protect a student’s anonymity if that is the student’s request.
          Doing so can often times make it more difficulty to thoroughly and effectively investigate an incident. The University
          will work with each student on a case-by-case basis to find the approach that best fits the student’s wants and
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         needs.

    13. RECORD RETENTION
        Student records, disciplinary records, and other reporting records will be retained and removed per the current and
        approved Texas A&M University System records retention schedule, http://www.tamus.edu/legal/records-
        management. Disciplinary records resulting in suspension or expulsion are maintained permanently in the Office of
        Student Conduct.
    14. COPY OF FILE PROCEDURE
        Individuals seeking photocopies of files must present the request, in writing, for specific documents to the Office of
        the Vice President for Business and Finance. Upon receipt of the written request, the Vice President for Business
        and Finance will determine the cost of reproducing the specific documents and send a memo stating the cost. Upon
        payment, the Vice President for Business and Finance will determine how long it will take to reproduce the
        documents and will inform the individual of when the documents will be ready. Requests for files are governed by
        The Texas A&M University System Policies and Regulations 61.01.02.
    15. DRUG AND ALCOHOL ABUSE PREVENTION PROGRAM (DAAPP)
        Standards of conduct at WTAMU clearly prohibit the unlawful possession, use, or distribution of illicit drugs and
        alcohol by students and employees on its property or as part of any of its activities. Per the DAAPP, WTAMU
        prohibits use, possession, or distribution of marijuana on its property or as part of its activities. Marijuana remains a
        Schedule 1 controlled substance under the Federal Controlled Substances Act (21 U.S.C. 801). The federal
        penalties and sanctions for illegal trafficking and possession of a controlled substance can be found at
        https://www.deadiversion.usdoj.gov/21cfr/21usc/811.htm


SECTION B: THE CONDUCT PROCESS
Upon notice of an alleged violation of the Code of Student Life, the Director of Student Conduct, or designee will review
allegations of misconduct and assign a hearing officer to the case. The hearing officer will inquire, gather and review
information about the reported student misconduct and will evaluate the accuracy, credibility, and sufficiency of the
information. Incidents will not be forwarded for an initial conference unless there is reasonable cause to believe a rule/
procedure has been violated. Reasonable cause is defined as some credible information to support each element of the
offense, even if that information is merely a credible witness or complainant statement. If it is determined that the
information reported does not warrant an allegation, a warning letter may be issued to clarify the rule/procedure that was in
question. Unsupported allegation(s) with no credible information will not be forwarded for an initial conference.

When an initial report of misconduct by a third party does not identify the victim or the victim is not available, the
investigator will investigate the reported incident to the fullest extent of the information available when applicable.
A student will be given notice of his or her involvement in an alleged violation of the Code of Student Life by receipt of an
Initial Inquiry letter. When preliminary information indicates that certain, identifiable student(s) are associated with the
reported incident, those student(s) will be asked to meet with a hearing officer.
In addition to other possible sanctions, conditions and/or restrictions, and in the event that a student fails to respond to
written notification, an administrative hold may be placed on the student’s record to prevent further registration. The
administrative hold will remain until such time as the hearing officer receives an appropriate response.
Failure to comply with or respond to a notice issued as part of conduct procedure and/or failure to appear will not prevent a
student conduct officer from proceeding with disciplinary action. Likewise, failure of a student to respond to notification to
appear may result in additional alleged violations and result in a charge of failure to comply.
ALL DISCIPLINARY PROCEEDINGS WILL ADHERE TO THE FOLLOWING PROCEDURES:
    1.   The student will be informed in writing of the allegations made and the date, time, and place of the initial conference
         with a hearing officer. This information will be sent to the accused student’s WTAMU email address. For University-
         related correspondence, it is the student’s responsibility to check their University email account, check it regularly,
         and to provide an accurate local mailing address.

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2.   An opportunity for the student to review the evidence, except official University Police Department reports on cases
     pending action in the district attorney’s office or while the case is still under investigation, prior to the hearing, shall
     be provided upon request. An appointment must be set up with the Director of Student Conduct in the Office of
     Student Enrollment, Engagement and Success, in the Jack B. Kelley Student Center, Suite 102, to review this
     information.
3.   During the initial conference, the student may bring an adviser of his or her choosing. This person may advise the
     student but may not actively participate in the conference. The initial conference is not recorded and may result in
     the following outcomes:
     a. The student(s) is found not to be in violation.
     b. The student(s) is found in violation and subject to those sanctions described in this Code of Student Life.
     c. The conduct officer decides that more investigation is needed and continues the conference at a later date.
4.   If a student is found not in violation, the process ends. If a student is found to be in violation, this determination will
     be provided in writing to the student. The student will have three (3) University working days to accept or reject the
     finding. If the finding is not challenged within those three (3) days, it will be accepted as final. If a student rejects the
     finding within those three (3) days, a formal hearing will be scheduled and the student will be notified in writing of
     the date and time of the hearing. The formal hearing will be held before a different hearing officer.
5.   During the course of the formal hearing, the student may seek advice of legal counsel/adviser at his/her own
     expense. Counsel may advise the student but may not present the case. The respondent and the complainant may
     have one person accompany him/her in the hearing. This person cannot be a witness.
     In sexual misconduct cases, the complainant will have the right to be present throughout the hearing but will not be
     required to attend the hearing. The complainant shall have the opportunity to submit an impact statement.
     Complainants and respondents also have the right to not have past sexual history discussed during the hearing.
6.   The University will present evidence supporting the allegations first and has the burden of proving its case by the
     preponderance of evidence. Preponderance of evidence means proof that leads a reasonable person to find that
     the facts in issue are more likely to have occurred than not. A determination of the facts will be based only on the
     evidence as presented. The technical rules of evidence applicable to civil and criminal cases shall not apply.
7.   An opportunity will be provided for the respondent to present his/her own version of the facts and to present other
     evidence in support of the current case including witnesses. Witnesses not having information directly pertaining to
     the scheduled case may not be allowed. The responding student should notify and make arrangements with their
     witnesses to attend the hearing or provide notarized written information or official University reports to be included
     in the hearing. The respondent will also have the right to hear evidence and question evidence presented through
     the student conduct officer. The student conduct officer may impose reasonable limitations upon the presentation of
     evidence and questioning of witnesses. A notary is available at no charge at several locations on campus, please
     see the Student Conduct Office for a list.
8.   A student may not be compelled to testify in his/her own behalf. If the student chooses not to testify or to appear at
     the hearing, no inference may be drawn from this action; however, the hearing will proceed and a decision will be
     made based on the facts presented. In the event that the respondent, witness, or any other person involved with the
     case is late to the hearing, the hearing officer reserves the right to make the determination on participation in the
     hearing, and the hearing body is not responsible for beginning the hearing over, recalling witnesses or re-entering
     any evidence into the record.

9.   Disorderly or disruptive behavior by any individual during the conduct process may result in removal of that
     individual from the conduct process, at the discretion of the student conduct officer, and the hearing process may
     continue.
10. The University will record the hearing and that recording remains the property of the institution. Deliberations will not
    be recorded. FERPA provides that when information on more than one student is contained in a single education
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       record, each student may inspect only the information specifically related to him/her. If the recording pertains to only
       the requesting student, arrangements may be made to review the recording. An appointment will be required to
       review the recording, if applicable. Suspension/expulsion sanctions result in records being maintained permanently in
       the VPSEES office.
  11. Upon conclusion of the hearing, a written statement of the findings, the formal action to be taken by the University,
      and a description of the appeals process will be forwarded (delivered or postmarked) to the student within five (5)
      working days, as defined by the University. In cases of sexual misconduct, the findings, formal action to be taken by
      the University, a rationale for those actions, and a description of the appeals process will be delivered to all parties
      simultaneously, meaning without substantial delay between the notifications to each.
  12. Disciplinary hearings will be closed with the exception of those directly involved in the hearing. The disciplinary
      proceedings will not be open to the media, or any form of social media, or live feeds.
  13. At the University’s discretion, notices and student conduct correspondence will be issued to the student’s local and/
      or permanent address of record, delivered by staff, or via email to their University email account and shall constitute
      full and adequate notice. It is the student’s responsibility to keep the address of record current and to check their
      University email account. The failure of a student to provide an address change or forwarding address, the refusal to
      accept/receive a letter (sent either by first class mail or certified mail or by staff delivery), or failure to check
      University email shall not constitute good cause for failure to comply with the content of the official University
      correspondence. Disciplinary action may be taken against a student for failure to appear after proper notice.

SECTION C: WEST TEXAS A&M UNIVERSITY STUDENT RULES
THE FOLLOWING ARE PROHIBITED:
  1.   ALCOHOLIC BEVERAGES
       a. Use, possession, sale, delivery, manufacture and/or distribution of alcoholic beverages, except in accordance
          with federal, state, local law.
       b. Being under the influence of alcohol and/or intoxication as defined by federal, state, local law.
  2.   ILLEGAL SUBSTANCES
       a. Use, possession, sale, delivery, manufacture, distribution and/or being under the influence of any narcotic,
           drug, and/or medicine prescribed to another person, chemical compound or other controlled substance, except
           in accordance with federal, state, local law.
       b. Possession of drug-related paraphernalia, except in accordance with federal, state, local law.
  3.   DISORDERLY CONUCT
       a. Public behavior that is disruptive, lewd, or indecent; breach of peach; or aiding, or procuring another person to
           breach the peace on University premises or at functions sponsored by the University or participated in by
           members of the University Community.
  4.   DISRUPTIVE ACTIVITY
       Participation in disruptive activity that interferes with teaching, research, administration, disciplinary proceedings,
       residential communities, academic mission or pursuits, free flow of pedestrian or vehicular traffic on University
       premises, or other University missions, processes, or functions including public-service functions or other University
       activities.

  5.   HARMFUL, THREATENING OR ENDANGERING CONDUCT
       Intentional or reckless behavior that harms, threatens or endangers the physical or emotional health or safety of
       self or others, including but not limited to:
       a. PHYSICAL OR VERBAL ABUSE OR ASSAULT
            Assault is threatening someone with imminent bodily injury, intentionally causing bodily injury, or intentionally
            causing physical contact when the person knows such contact will be considered offensive.
       b. THREATS
            Written or verbal acts that would cause significant distress or fear in a reasonable person or that a reasonable
            person would interpret as a serious expression of a threat or intent to inflict bodily harm upon specific
            individuals or groups of individuals.
       c. INTIMIDATION

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        An implied threat or act thatDocument    37-1 Filed
                                      causes a reasonable      05/05/23
                                                          fear of           Page 18 of 46 PageID 501
                                                                  harm in another.
6.   HARASSMENT
     Behavior that is severe, pervasive or persistent to a degree that a reasonable person similarly situated would be
     prevented from accessing an education opportunity or benefit. This behavior includes, but is not limited to verbal
     abuse, threats, intimidation, coercion, and/or acts that occur on social media.
7.   SEXUAL MISCONDUCT
           1. SEXUAL HARASSMENT
              Unwelcome verbal, written, or physical conduct or attempted conduct of a sexual nature that is sufficiently
              severe, persistent, or pervasive that it unreasonably interferes with the student's educational experience or
              creates a hostile educational environment.
         2. SEXUAL EXPLOITATION
              Taking non-consensual or abusive sexual advantage of another for the benefit of oneself or a third party.
              Prohibited behavior includes, but is not limited to:
               Photography or video recording of another person in a sexual, intimate, or private act without that
                   person's full knowledge and consent;
               Purposeful distribution or dissemination of sexual or intimate images or recordings of another person
                   without that person's full knowledge and consent;
               Sexual voyeurism;
               Inducing another to expose one's genitals or private areas;
               Prostituting another student;
               Engaging in sexual activity while knowingly infected with an STD.
         3. PUBLIC INDECENCY
              Engaging in private or sexual acts in a publicly viewable location, such that it is offensive to accepted
              standards of decency. Including, but not limited to exposing one's genitals or private area(s), public
              urination, defecation, and/or public sex acts.
         4. NONCONSENSUAL SEXUAL CONTACT
              Intentional sexual touching, however slight and with any object or part of one's body, of another's private
              areas without consent. Private area includes buttocks, breasts, mouth, genitals, groin area, or other bodily
              orifice.
         5. NONCONSENSUAL SEXUAL INTERCOURSE
              Sexual penetration or intercourse, however slight and with any object, without consent. Penetration can be
              oral, anal, or vaginal.

8.   HAZING
     Intentional, knowing, or reckless act directed against a student by one person acting alone or by more than one
     person occurring on or off University premises that endangers the mental or physical health or safety of a student
     for the purpose of pledging or associating with, being initiated into, affiliating with, holding office in, seeking and/or
     maintaining membership in any organization or program whose membership consists of students. Consent and/or
     acquiescence by a student or students subjected to hazing is not a reasonable defense in a disciplinary
     proceeding. Hazing includes, but is not limited to:
     a. Any type of physical brutality, such as whipping, beating, using a harmful substance on the body or similar
          activity.
     b. Any type of physical activity that subjects the student to an unreasonable risk of harm or that adversely affects
          the mental or physical health or safety of a student, such as sleep deprivation, exposure to the elements,
          confinement in a small space, or calisthenics.
     c. Any activity involving consumption of a food, liquid, alcoholic beverage, drug or other substance which subjects
          a student to an unreasonable risk of harm or which adversely affects the mental or physical health or safety of a
          student.
     d. Any activity that intimidates or threatens a student with ostracism, subjects a student to extreme mental stress,
          shame or humiliation, adversely affects the mental health or dignity of a student, or discourages a student from
          entering or remaining enrolled at the University, or may reasonably be expected to cause a student to leave the
          organization or the University rather than submit to acts described above.

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         Any activity                Document
                      in which a person             37-1 Fileddirects,
                                          solicits, encourages,   05/05/23aids orPage    19 of
                                                                                  attempts  to 46   PageID
                                                                                               aid another in 502
                                                                                                              engaging in
         hazing; intentionally, knowingly or recklessly permits hazing to occur; has firsthand knowledge of the planning
         of a specific hazing incident which has occurred and knowingly fails to report the incident to the VPSEES or the
         University Police Department.
     f. Any activity in which hazing is either condoned or encouraged or any action by an officer or combination of
         members, pledges, associates or alumni of the organization of committing or assisting in the commission of
         hazing.
     Students who are recipients and/or victims of hazing (and who have not perpetrated hazing behavior on others
     involved in the fact pattern for which they are reporting) and who report the activities to the VPSEES and/or the
     University Police Department, will not be charged with a violation of the hazing rule.
     NOTE: For more information on hazing see Texas Education Code, Sections 37.151-37.155 and Section 51.936 at
     http://www.statutes.legis.state.tx.us/?link=ED.
9.   RETALIATION
     Intentional, adverse action, or attempts at adverse action, (including online) taken that harms an individual as
     reprisal for filing or participating in a conduct process, grievance process, Title IX investigation, or other protected
     activity.
10. EXPLOSIVES, FIREWORKS AND WEAPONS
    The possession, use or threatened use of these items is strictly prohibited on University property or at University
    functions, with the exception of approved events. This includes but is not limited to paint ball guns, stun guns, pellet
    guns, blow guns, air-powered guns, nun chucks, sling shots, brass knuckles, projectiles, bow and arrows, axes,
    swords, and knives with blades longer than 6”, etc. These items or those similar in nature may not be used for
    display or decoration in University buildings.
11. FIREARMS AND AMMUNITION
     The use or threatened use of firearms or ammunition on University property or at University function. The
     possession of these items outside of a locked privately owned or leased motor vehicle, unless the person is
     authorized to carry by the State of Texas. Concealed handguns must be carried in accordance with University Rule
     34.06.02W1. These items or those similar in nature may not be used for display or decoration in University
     buildings.
     Students living in the residence halls:
     In accordance with Texas SB 11 (Texas Government Code 411.2031), the “Campus Carry” law and WTAMU Rule
     34.06.02W1, only residents who has a license to carry a concealed handgun will be permitted to have their handgun
     and ammunition in their residence hall room. The aforementioned law allows WTAMU to establish rules, regulations,
     or other provisions concerning the storage of handguns in the Residence Halls. Any student who has a license to
     carry a concealed handgun, and will store the weapon in the residence halls must rent a university owned safe. The
     use of personal safes for this reason is not permitted.
     For more information, visit Carrying Concealed Handguns on Campus 34.06.02W1:
     https://www.wtamu.edu/about/campus/campus-concealed-carry.html
12. FIRE SAFETY
     Persons who jeopardize the security or safety of any resident will be subject to severe disciplinary action.
     Tampering with fire equipment or acts of arson can result in civil prosecution, disciplinary measures, and/or possible
     fines. Failing to evacuate a building anytime a fire alarm is sounded will result in disciplinary sanctions. Additionally,
     causing the fire alarm to sound due to negligence or by tampering with equipment may result in disciplinary action
     and may result in remuneration of fees assessed by local authorities.
     a. Fire Drills
     The University will hold fire drills to acquaint the persons with fire evacuation procedures. All persons are required
     to follow directions during the drills. Failure to evacuate the building may result in disciplinary action, a monetary
     fine, and possible suspension.


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       Fire Equipment                Document 37-1 Filed 05/05/23                Page 20 of 46 PageID 503
    Because it is imperative that fire and safety equipment functions properly when it is needed, the
    following acts are prohibited:
            1. Tampering or playing with fire extinguishers, smoke detectors, exit lights, emergency lights or door and
            door frame fire-rating labels
            2. Tampering with or pulling a fire alarm under false pretense
            3. Removing smoke detector batteries or otherwise rendering a smoke detector inoperable
            4. Propping open fire doors
            5. Obstructing halls and stairwells with furniture, debris, and other materials
            6. Hanging objects from smoke detectors and sprinklers
            7. Presence on fire escapes in non-emergency situations

    c. Smoke Detectors
    All rooms and offices are equipped with smoke detectors. Persons that detect a problem with their smoke detector
    should contact the hall staff immediately. Disciplinary action will result if the smoke detector is removed or
    otherwise renders the detector inoperative. Disciplinary action could also result for persons who cause potential
    fire hazards through unsafe practices (i.e. overloading circuits, use of inappropriate extension cords or power taps,
    use of unauthorized cooking appliances, etc.).

    d. Sprinkler Systems
    Sprinkler systems are very sensitive. Please be aware of the following:
            1. Never cover a sprinkler head.
            2. Do not hang items from the sprinkler head or piping.
            3. Sprinkler heads may never be obstructed or altered.
            4. Nothing may be stored within 18 inches of the sprinkler head.
            5. Any item that hits the sprinkler head may cause it to activate.
            6. The sprinkler system is activated by contact or heat, not smoke.

             The University is not responsible for any damage caused by the sprinkler system. Residents who cause the
             system to activate will be held accountable for any damages caused to their personal property, other
             residents' property, and to University property. Residents tampering with the system may be fined up based
             on state regulations and will face disciplinary and possible legal action.
             OPEN FLAMES
             No items that have open flames, flammable fuels, or open coils may be used in any campus building. This
             includes, but is not limited to candles, lanterns, heaters, and incense. These items will be confiscated
             immediately.
13. DAMAGE, DESTRUCTION, TAMPERING WITH OR VANDALISM OF PROPERTY
    Behavior that damages, destroys, tampers with, vandalizes or litters any property of this or another educational
    institution or of another person or entity on University premises or at University-sponsored activities.
14. UNAUTHORIZED PRESENCE
    Unauthorized possession, giving access, duplication, production or manufacture of any key, unlocking device or
    Buffalo Gold Card for any University facility or property is prohibited. Unauthorized presence or attempted entry into
    or use of University facilities, property, networks or systems. Students should be familiar with the visitation rules
    applicable to individual residence halls.

15. THEFT
    The attempted or actual theft of University services, property, property of other University students, of other
    members of the University community, of campus visitors on University property, or at University-sponsored
    activities. Possession of property known to be stolen or belonging to another person without the owner’s permission
    is considered theft.
16. PROVIDING FALSE INFORMATION OR MISUSE OF RECORDS
    Knowingly furnishing false information to the University, to a University official in the performance of his or her
    duties, or to an affiliate of the University, either verbally through forgery, alteration or misuse of University records,
    documents or identification.
17. MISUSE OF THE BUFFALO GOLD CARD
    The misappropriation of University property, equipment, networks, systems and/or funds is prohibited. This also
    includes the inappropriate use of the Buffalo Gold Card/number. This card is the property of WTAMU and is non-

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    transferable. Use by other than Document      37-1 isFiled
                                     named cardholder            05/05/23
                                                           prohibited.          Pageusage
                                                                       Inappropriate  21 ofmay
                                                                                             46 include
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                                                                                                            is not limited
    to lending a Buffalo Gold Card/number to someone to be used at the dining hall, food court, Buff Cash vendors,
    student computerized elections or any University event; using another person’s Buffalo Gold Card/number, with or
    without that person’s knowledge for the purposes listed above; and using a person’s Buffalo Gold Card/number for
    the purchase or receipt of tickets to University events, signing into class or mandatory attendance events.
18. TAMPERING WITH INFORMATION, FILES, RECORDS, NETWORKS OR SYSTEMS
    Willfully destroying, damaging, tampering, altering, stealing, misappropriating, or using without permission any
    system, program, information or file of the University or of a member of the University community.
19. IMPROPER COMPUTER, NETWORK, AND TECHNOLOGY USAGE
    Unauthorized and/or inappropriate use or access of computers, systems or networks. The guidelines for computing,
    network and technology resources are available in the open access lab in the Hastings Electronic Learning Center
    or on the WTAMU website at www.wtamu.edu/rules and are incorporated herein for all purposes. Sharing or
    downloading music, video, software, games or any other copyrighted material is against the law,
    http://www.wtamu.edu/p2p.
20. GAMBLING
    Gambling, wagering, gaming and bookmaking as defined by federal, state, local laws on University premises
    involving the use of University equipment or services.
21. FALSE ALARMS OR TERRORISTIC THREATS
    Falsely reporting an emergency or terroristic threat in any form, issuing a bomb threat, constructing mock explosive
    devices, or improperly possessing, tampering with or destroying emergency signs on University premises.
22. FAILURE TO COMPLY
    Failure to comply with reasonable directives and/or requests or to present student identification or identify oneself to
    any University official acting in the performance of his or her official duties.
23. MISUSE OF SKATEBOARDS, ROLLERBLADES, SCOOTERS, BICYCLES, SELF-BALANCING BOARDS, OR
    SIMILAR MODES OF TRANSPORTATION
    Use of skateboards, rollerblades, scooters, bicycles or other similar modes of transportation in University buildings
    or on University premises in such a manner as to constitute a safety hazard or cause damage to University or
    personal property. The use, possession, charging or storage of self-balancing boards or similar devices on
    University or personal property. Bicycles and scooters need to be secured to University provided bike racks.
    Bicycles found in violation will be impounded by the University Police Department. These items are not permitted in
    University buildings.

24. HAMMOCKING REGULATIONS
    Attaching rope, wire or other material or device to any tree, shrub, bush or plant is prohibited on University property.
    Designated hammock areas exist in multiple locations on campus. Hammocks must not be attached to anything
    other than the established posts in these designated areas.


25. VIOLATION OF PUBLISHED UNIVERSITY RULES OR REGULATIONS
    Violation of any published University rules or regulations that govern student or student organization behavior,
    including, but not limited to, violations of University operating procedures.
    a. Parking Services Regulations, http://wtamu.edu/university_police/upd-parking-services.aspx
    b. Residential Living Handbook, http://wtamu.edu/student-life/residential-living.aspx
    c. Virgil Henson Activities Center Policies, https://www.wtamu.edu/student-life/recreational-sports/vhac-
         policies.html
    d. West Texas A&M Operating Rules and Procedures, https://www.wtamu.edu/about/rules-and-procedures.aspx
    e. System Operating Policies, www.tamus.edu/legal/policy
    f. Acceptable Use Policy, http://www.wtamu.edu/informationtechnology/p2p.aspx
26. VIOLATION OF FEDERAL, STATE, LOCAL LAW AND/OR UNIVERSITY RULES AND PROCEDURES
    Misconduct which may constitute a violation of federal, state, local laws, and/or WTAMU rule/procedure will be

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        considered                       Document 37-1
                   a violation of this rule/procedure, and willFiled 05/05/23andPage
                                                                be investigated         22 of through
                                                                                  adjudicated  46 PageID       505
                                                                                                        the University
        conduct system and standard of proof. A lack of conviction in any criminal proceeding will not, in and of itself, serve
        as evidence in a University conduct proceeding.
    27. ABUSE OF THE STUDENT CONDUCT SYSTEM
        a. Failure of a student to respond to a notification to appear before a student conduct officer during any stage of
           the conduct process.
        b. Falsification, distortion, or misrepresentation of information in conduct proceedings.
        c. Disruption or interference with the orderly conduct of a conduct proceeding.
        d. Filing an allegation known to be without merit or cause.
        e. Discouraging or attempting to discourage an individual’s proper participation in or use of the conduct
           proceedings, disciplinary proceedings, etc.
        f. Influencing or attempting to influence the impartiality of a member of a disciplinary body prior to and/or during
           the disciplinary proceeding.
        g. Influencing or attempting to influence another person to commit an abuse of the discipline system.
        h. Failure to comply with the sanction(s), condition(s), and/or restriction(s) imposed by a student conduct officer
           under the Code of Student Life.

    28. SMOKING/TOBACCO
        The West Texas A&M University (WTAMU) campus is a smoke-free campus. The use of tobacco products,
        including smokeless tobacco products (e.g. vape pens, chewing tobacco, e-cigarettes and hookahs), legal and
        illegal smoking products is prohibited at any University property, facility and/or state vehicle. This will include the
        use of these products in personal vehicles while on University property. All buildings on the WTAMU campus are
        tobacco free.
    29. PROHIBITED ANIMALS ON CAMPUS
        Animals will not be allowed to run at large on campus and must be leashed at all times. Animals shall not be left
        unattended or secured to University property. With the exception of fish (limited to 20 gallon aquarium), those
        trained for work, or emotional support; residents are not allowed to keep animals and/or pets in the residence halls.
        Aquariums must be unplugged and all animals must vacate the residence halls anytime their owner leaved for an
        extended time. Emotional support animals must be approved through the Office of Student Disability Services.
        Service animals living in the residence halls must be registered with the Office of Residential Living. Any animal,
        regardless of purpose, service or emotional support animal may not cause a disruption to the campus community.
    30. DRONES
        All drone flights on the WTAMU campus must be approved by the University Police Department (UPD), which works
        in conjunction with the Environmental Health and Safety and Risk Management offices; unless the flight has an
        approved flight plan in a designated location prior to the flight taking place.
        FAA guidelines for all drone flights can be found at www.knowbeforeyoufly.org
        The Texas A&M University System is also finalizing a drone policy which can be found at
        www.tamus.edu/legal/policy.
    31. PARKING BARRICADES
        The University Police Department and Physical Plant often have to block off spaces for special events, construction
        projects, and routine maintenance. Students caught tampering with cones, barricades, or signs could be subject to
        University sanctions.
SECTION D: RESIDENTIAL LIVING RULES
Student Conduct
Each student in the residence halls is expected to exercise self-discipline and to respect the rights of other students. Each
resident must realize that in a community-living experience, certain rules should be observed by all in order to maintain a
safe and educational environment.
Each residence hall has the ability to institute rules, according to parameters specifically related to the goals of the Office of
Residential Living, provided that these rules do not conflict with the rules of the University and are approved by the director



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of Residential Living.

Students who witness violations should report them to residence hall staff and/or UPD. Questions related to appropriate
and inappropriate behavior should be addressed to the residence hall staff or the Code of Student Life.
    1.   ALCOHOL CONTAINERS
         The possession of any alcohol container in the residence is prohibited. This includes any alcohol containers used for
         decorative purposes.
    2.   BALCONIES
         No item should be thrown, pushed, dropped, or allowed to fall from any balcony. Residents should not spit, pour, or
         drop any liquids from a balcony. Residents are not permitted to climb in or out of balconies; Residents must use
         doors to gain access to the balconies. No items can be stored on balconies (bicycles, chairs, grills, etc.).
    3.   BUSINESS OPERATIONS
         Babysitting, or running any other type of business is not allowed in residence halls.
    4.   CANDLES AND INCENSE
         “Scentsy” or similar type products are permitted if it is UL/FM approved. Anything that burns or smolders is not
         permitted on campus. This includes candles and incense. This rule includes decorative candles with burned or
         unburned wicks. Residents found with these objects will face disciplinary action and these objects will be
         confiscated. Confiscated items will be disposed of at the end of each semester. Candle warmers are not allowed.
    5.   CHALKING
         The use of chalk on any buildings is prohibited. Groups may be approved by the Residential Living Office to chalk on
         specific sidewalk locations around the residence hall. Clean-up charges may be assessed.
    6.   DAMAGES OR LOSSES
         Residents are responsible for keeping the premises (room/hall) and its contents in good order and free from
         damage, both by themselves and their guests. Residents will be held accountable for any damages they cause in
         common areas, university property, and resident rooms.
         In situations where no individuals can be held accountable for damages, the Office of Residential Living reserves
         the right to "group bill" all residents that may have been associated with damages. Each resident understands and
         agrees that he/she is responsible for the replacement cost for any damages that may occur to the room and/or its
         contents. Students are encouraged to seek property insurance for loss or theft of personal items. See the Group
         Billing section of the Residence Hall Handbook for more information.
    7.   DECORATIONS
         Pictures, posters, and other items used to decorate a student’s room are encouraged as long as they do not create a
         health or fire hazard or damage the room. Residents may not nail or drill into the walls. Decorations must be limited
         to no more than 20% of your door and walls and should not be offensive in nature. All decorations are subject to the
         approval of roommates. All decorations visible through the window or on the door should be appropriate. Pictures
         and other materials that may be considered objectionable are not to be displayed in areas that may be visible outside
         the student’s room. Residents are not permitted to paint their rooms. Students may be charged for painting any
         portion of their room and/or charged the cost of repainting. Miniature holiday string lights or rope lights may be used
         year round if: they are appropriately hung/attached to the wall, are UL/FM approved, and are plugged directly into
         the wall outlet or approved surge protector.
         a.    Holiday Decorations
               If students decorate their rooms for the holidays, these guidelines must be followed:
                1. Trees and other greenery must be artificial and must have proof of flame resistance.
                2. Fire alarm pull stations, fire extinguisher cabinets, smoke detectors, sprinkler heads, and exit signs must not
                    be covered, and exits must not be blocked.
         b.    Street/Road Signs
               Street/Road signs are considered the property of the respective government agencies where located and any

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           inappropriate removal or possession by unauthorized individuals may result in judicial or legal action.
           Individuals possessing street/road signs may be requested to provide proof of ownership.
     c.    Wallpaper and Border
           Wallpaper and border are not permitted.
8.   EXTERIOR DOOR LOCKING
     The exterior doors with card access are locked at all times. Residents are expected to carry their keys or University
     ID card to gain access to locked halls. Propping of exterior doors and/or tampering with locks are considered
     serious security violations. Residents are expected to aid in maintaining the security of their hall. ID cards are never
     to be given to another person to gain entry into the hall. Violating this policy may result in disciplinary sanctions or
     fines.
     Tailgating (allowing another student or individual to enter the building ahead of or behind you without swiping their
     University ID) is prohibited. The card access system is in place for the safety of residents of each building; allowing
     individuals to enter without swiping their ID puts the safety of the community at risk. Additionally, residents providing
     their ID card to a guest will be subject to disciplinary action.
     Room keys and outside door keys will be issued to each resident at check in. Outside door keys will not be issued
     to residents in halls with card access systems. Report lost or broken keys to a staff member as soon as possible.
     Students will be charged a minimum of $100 for a lost outside door key and a minimum of $100 for each room/suite
     key. The room key charge will cover the cost of keys and the replacement cost for the lock core. Residents failing to
     return their keys at the time of check-out or during vacation periods will be charged the replacement fee. Excessive
     lockouts may result in disciplinary action or fines. Duplication of University keys is prohibited. Possession of
     University keys other than those assigned is not permitted.

9.   FURNITURE
     Furniture must remain in its designated space. Common area furniture that is removed by a student for their private
     use will be considered stolen and disciplinary action may be taken. Room furnishings are to remain in the rooms at
     all times. No University furniture should be moved to an outside or balcony location, as outdoor elements can
     damage the furniture. Furthermore, University furniture is not to be altered or lofted. Students may be responsible
     for repair or replacement costs to damaged furniture. Students may not leave any type of furnishings or property
     outside of their room or in the hallway. No University property may be moved or taken from the hall without written
     authorization from the hall coordinator.
10. GUESTS
    A guest is defined as a person who is not assigned to the room they are visiting. Residence hall students are
    allowed to host guests in their rooms according to the rules outlined below. However, violating a roommate’s right of
    entry into the room or hindering a roommate’s ability to study and/or sleep within their room is considered a violation
    of guest privileges. Roommates have the right to deny guests. Guests are not to enter or be present in a room,
    suite, or lobby area without the host being present.
     a. Host Responsibilities - Hosts are responsible for the behavior of their guest at all times and are obligated to
        inform the guest of all University and residence hall rules and regulations. Any violation of rules or regulations by
        a guest may result in disciplinary action being taken against both the host and the guest.
     b. Overnight Guests - Overnight guests are allowed to spend the night but only with the permission of the
        roommate. Overnight guests may not stay in a room for more than three consecutive nights. A maximum of two
        guests are allowed in a room on a given night
     c. Escorting of Guests - Their host must escort guests at all times. Guests are required to wait for their escort
        before proceeding to their host’s room. Guests should be escorted completely out of the host’s residence hall.
        Escorting must also take place in enclosed courtyards. Never escort anyone who is not your guest. Violating this
        policy may result in disciplinary sanctions.
     d. Visitation - 24-hour visitation is permitted throughout the residence halls, this does not supersede the overnight
        guest policy.

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11. HALL SPORTS
    Hall sports is defined as unauthorized activities involving projectiles, sticks, rackets, and/or miscellaneous sports
    equipment inside the residence halls.
    a.    Bicycles
          Students may store their bicycles in their rooms, with roommates' consent, as long as the bicycle is cleaned
          before entering the hall. Bicycles cannot block the room exit if stored in a room. Under no circumstances is
          anyone allowed to ride or store a bicycle in the lobby or hallway of a residence hall. Bicycles are not to be left in
          the courtyard or chained to bike racks after a resident checks out of the hall.
    b.    Darts/Dartboards
          Because of the potential danger to both persons and property, darts and dartboards are prohibited in the
          residence halls without permission from the Senior Director of Residential Living or designee.
    c.    Projectiles
          For reasons of health and safety, propelling devices such as rockets, paint guns, water balloons/launchers,
          catapults, slingshots, or any homemade device for the purpose of launching an object are prohibited.
    d.    Rappelling
          Rappelling off of any University building is prohibited.
    e.    Running/Roughhousing
          Residents must refrain from running, rollerblading, skateboarding, skating, roughhousing, scuffling, use of water
          guns, use of scooters, use of motorized vehicles/cycles, throwing, bouncing, or kicking of objects in halls,
          stairwells, and other common areas.
    f.    Hover boards
          Hover boards are not permitted inside any residence hall.
12. LAUNDRY, ICE OR VENDING MACHINES
    Abuse of laundry, ice or vending machines only aggravates whatever problem the machine may have and is
    prohibited. Only residents of the hall are permitted to use laundry machines. Laundry machines are for resident's
    personal use only. Residents using machines for non-personal use may face disciplinary sanctions and have their
    laundry privilege removed.
13. OFFENSIVE ODORS
    An offensive odor is any odor or aroma of such intensity that it becomes apparent and is offensive to others. Any
    odor can become offensive when it is too strong. Some examples are: perfume, air freshening spray, or large
    amounts of dirty laundry. Hall staff will address offensive odors when complaints are received. Residents identified
    as being responsible for the offensive odor will be asked to eliminate the cause of the odor.
14. PROHIBITED ITEMS
    a.    Air Conditioners
          For safety and electrical concerns, no student may install an air conditioner or water cooler in their room; this
          includes portable air conditioning systems. Fans are permitted.
    b.    Appliances
          Electrical appliances must be plugged directly into a wall outlet and are not permitted to be plugged into a
          power strip. Electrical appliances that are not allowed include, but are not limited to: camping stoves, ceiling
          fans, electric skillets or woks, griddles, “Insta-pot” or similar multi-cooker, deep fryers, convection cooker,
          “George Foreman” type grills, any halogen torchiere lamp or lamps that use halogen bulbs, potpourri pots, hot
          oil popcorn poppers, hot plates, oven broilers, power tools, any appliance with an open coil, space heaters,
          toasters or toaster ovens, or chest freezers. Only university issued refrigerators and microwaves are permitted.
          The hall staff will confiscate unauthorized or misused appliances and the individuals responsible will be subject
          to disciplinary action. It is the resident’s responsibility to seek approval for any appliance in question.

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          1.   Buff Hall Only: residents are permitted to bring their own microwave as these are not supplied.
          2.   Allowed appliances include: coffee pots, rice cookers, blenders, and crock pots.

    c.    Extension Cords
          Extension cords of any type are not permitted in the halls. Only UL or FM rated surge protectors are permitted.
          The UL/FM sticker on the surge protector must note “surge protected device.” Those listed as “relocatable
          power taps” or otherwise are not permitted.
    d.    Heaters
          For safety and electrical concerns, no portable heating units may be used in a residence hall.
    e.    Waterbeds
          Waterbeds are not permitted in any student rooms due to safety and maintenance concerns.
15. QUIET/COURTESY HOURS
    Quiet hours are maintained to help provide an atmosphere that is conducive to academic success and to promote
    an environment where individuals can learn from the experience of group living. The enforcement of quiet hours is
    the responsibility of each resident, with the assistance of the staff as needed.

    Each living area must observe quiet hours from:
           Sunday–Thursday ......................10 p.m.–8 a.m.
           Friday and Saturday ...................Midnight–8 a.m.

    Each living area may vote to extend these hours. The Office of Residential Living reserves the right of final approval
    for such hours.

    Courtesy hours are in effect throughout the halls 24 hours a day. Therefore, noise (stereo, radio, TV, musical
    instruments, voices, etc.) must be maintained at levels that will not interfere with the study or sleep of other
    residents. If you encounter excessive noise, first request that the offenders reduce their noise level. If they persist,
    contact your RA or the staff member on duty.
    To help promote an intense study period, there will be 24-hour quiet hours in effect during final exams in all halls.

16. SOLICITATION
    Solicitation of commercial products or services within residence halls is prohibited. This includes, but is not limited
    to: solicitation/sales within student rooms, common areas, and entry areas (inside or outside) of halls. If sales
    personnel approach you, do not allow them to enter your room and inform UPD or your hall staff immediately.
17. UNAUTHORIZED AREAS
    Students found in or having been in unauthorized areas are subject to disciplinary action. Unauthorized areas
    include, but are not limited to, mechanical rooms, rooftops, and tunnels/crawl spaces.
18. VANDALISM
    Residents who remove, destroy, or deface any property or area related to the University or residential living
    (including vandalism of the elevators, ceilings, and grounds surrounding the buildings) are subject to disciplinary
    action and will be required to pay for any damages, as well as any criminal charges as outlined by Texas Law.
19. WINDOW/WINDOW SCREENS
    Windows are not to be used as a room exit unless residents do so for emergency reasons. Window screens should
    not be removed. Residents will be charged for damages to screens and for the reinstallation of any removed
    screens. Throwing, hanging, or spitting objects from windows or balconies is prohibited. Excessive window
    coverings are not allowed (including paper or foil).




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                                          P A R T II: C O M M U N I T Y R U L E S



SECTION A: ACADEMIC INTEGRITY CODE
It is the responsibility of students and instructors to maintain academic integrity at WTAMU by refusing to participate in or
tolerate academic dishonesty or any behavior that prevents University representatives or students from effectively furthering
the mission of the University as stated in the mission statement. Any act that hinders WTAMU from maintaining the integrity
of the University’s academic mission shall be treated as a serious offense against the community as a whole. It is both the
right and responsibility of every member of the community to read, understand and enforce the guidelines set forth for
maintaining WTAMU’s academic integrity. Sanctions for any violation of the academic integrity code may include any of
those listed under the “Sanctions/Penalties” section of the Code of Student Life.

    1.   CATEGORIES OF ACADEMIC DISHONESTY
         Below are examples of possible violations. This listing is not exclusive of any other acts that may reasonably be
         said to violate the spirit of the academic integrity code. Commission of any of the following acts shall constitute
         academic dishonesty
         a. IMPROPERLY ACQUIRING INFORMATION
              Acquiring answers for or information regarding any assigned work or examination from any unauthorized
                  source (peers, electronic resources, electronically stored data, textbooks, lab books, lecture or crib notes,
                  former students, friends, etc.) in violation of the respective faculty member’s guidelines. Possession of crib
                  notes, stored data (on calculators, computer files, etc.) or cheat sheets against instructor’s consent will be
                  construed as an attempt to violate this provision of the academic integrity code.
              Working with another person(s) or persons on any assignment or examination unless expressly permitted
                  to do so by the respective faculty member’s guidelines.
              Observing the work of other students during any examination.
              Stealing examinations or assignments from faculty, computer files or other students.
         b. IMPROPERLY PROVIDING INFORMATION
              Knowingly providing answers for any assigned work or examination in violation of the respective faculty
                  member’s guidelines.
              Knowingly informing any person or persons of the contents of any examination prior to the time the
                  examination is given in subsequent sections of the course or as a makeup.
         c. PLAGIARISM
              Presenting work, ideas or phrasing of another, in whole or in part, as one’s own without giving credit and
                  proper documentation of sources.
              Copying material directly from sources (including electronic media) except when the material is enclosed in
                  quotation marks and the source is clearly identified. Failure to use quotation marks or appropriate methods
                  of documentation shall be construed as attempted plagiarism.
              Paraphrasing too closely to the original, even when the source is identified.
              Claiming credit for work in any media (electronic, digital, artistic, etc.) where the student is not the original
                  creator of said work.
         d. CONSPIRACY
              Agreeing with one or more persons to commit any act of academic dishonesty.
              Logging on or signing in for another student for any assignment in which credit is given for participation or
                  attendance.
              Taking an examination or completing an assignment for another student.
              Coercing others to commit any act of dishonesty or approaching others in an attempt to gain their
                  participation in acts of dishonesty.
              Possessing knowledge of violations of the academic integrity code and not informing a University official
                  such as a faculty member, direct supervisor, dean or vice president.
         e. FABRICATION OF INFORMATION


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             The falsification of the results obtained from a research or laboratory experiment.
             The written or oral presentation of results of research or laboratory experiments without the research or
              laboratory experiment having been performed.
            Lying about the date upon which one took an examination or handed in an assignment, the reasons for not
              taking an examination or handing in an assignment on a specific date, one’s reasons for challenging a
              professor’s assigned grade, the fact that one has handed in material or one’s contributions to a group
              assignment.
            Turning in a paper purchased or acquired from any media outlet, written by someone other than the student
              claiming credit or stolen from another student.
     f.    VIOLATION OF DEPARTMENTAL OR COLLEGE RULES
            Violation of any announced course, departmental or college rule relating to academic matters, including but
              not limited to abuse or misuse of computer access or information.
            Any violation of the “West Texas A&M University Student Rules” section of the Code of Student Life that
              impairs either (a) a professor’s ability to effectively deliver classroom or laboratory material or (b) a
              student’s ability to effectively learn or process information or perform academic work.
     g.    INAPPROPRIATE MULTIPLE SUBMISSIONS OF THE SAME WORK
            Students may not submit a paper or project that is substantially the same for two courses unless expressly
              authorized by the instructor to do so.
            Students may not provide assignments for submission by other students unless expressly authorized by
              the instructor to do so.
2.   REPORTING VIOLATIONS OF THE WTAMU ACADEMIC INTEGRITY CODE
     As all members of the WTAMU community are responsible for maintaining the academic integrity of the University’s
     mission, any member of the community may report and is responsible for reporting known violations of the academic
     integrity code to a faculty member, direct supervisor, academic dean or Executive Vice President and Provost
     (EVPP). Violations shall be construed as any action outlined in the Code of Student Life or the violation of any other
     University code or regulation that impacts the University’s ability to meet the academic expectations that it has set
     forth in its mission statement.
     Any student with knowledge of a violation who fails to report it shall him/herself be in violation of academic integrity
     code. A student who believes his/her work has been stolen, copied, or inappropriately acquired by another student
     should report that information to the instructor. Additionally, any member of the community who reports her/himself in
     violation of this code before it is likely that another might consider this possibility will be understood as repentant and
     acting in good faith toward the community as a whole. Though the confession will not excuse the student for the
     violation, the act will be considered with great weight by all hearing/sanctioning bodies and the violation should not
     result in suspension or expulsion except in the most extreme cases.
     Before reporting a suspected violation, the accusing party should make a reasonable attempt to collect evidence
     (eyewitnesses, material facts, etc.) to present in the case of a hearing. Teaching faculty who suspect a violation
     should confer with the suspected violator(s) and attempt to resolve the case at that point. If the faculty member and
     student can mutually consent to a solution, the faculty member should complete an Academic Integrity Code
     Violation Review Form (AICVRF) regarding the WTAMU academic integrity code. This form is to be signed by the
     student, faculty member, direct supervisor and dean, then forwarded to the EVPP office for signature where it will be
     placed in the student’s file. If a faculty member prefers to report the case directly to her/his direct supervisor, it
     remains her/his prerogative to do so. Additionally, if the faculty member and accused student cannot agree upon a
     resolution or if the faculty member believes that suspension or expulsion is the only fair sanction, the case should
     immediately be reported, by the faculty member and in writing, to the appropriate direct supervisor.
3.   INITIAL FINDING OF FACT AND REVIEW OF CASES
     In a case where a non-teaching member of the WTAMU community reports a suspected integrity violation, the case
     will be referred to the appropriate faculty member, direct supervisor or dean for initial review. The referral will come
     from the WTAMU community member to whom the suspected act was first reported.
     In a case where a resolution between the student and the faculty member has been reached, an AICVRF will be

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     completed by the faculty member, signed by all parties, direct supervisor and dean, and forwarded to the EVPP
     office to be placed in the student’s file.
     In a case where a resolution between the student and the faculty member cannot be reached, all materials will be
     presented to the direct supervisor who will then review the case (including evidence, student and professor
     testimony, any documents, etc.), determine if a violation occurred, and, in the case of a finding of violation, impose
     through her/his dean’s office, then forward to EVPP the appropriate sanction. The direct supervisor will then notify
     both the student and the faculty member of her/his decision, as well as inform the student of her/his right to appeal
     to the College Integrity Committee (CIC). [Note: Each college will create a CIC as needed. It will be comprised of
     the college dean (who will chair the committee and vote only in case of a tie), three students (appointed by Student
     Senate) and three faculty members from the college (one appointed by the dean for a two-year term, one chosen
     by the student and one chosen by the dean). Should the dean feel that her/his chairing the committee would
     present some conflict of interest, she/he should recuse her/himself through the VPAA’s office and have another
     dean appointed to chair the hearing.] In the case of a finding of guilt, the direct supervisor will forward this finding to
     the VPAA’s office to be placed in the student’s file.

     Upon any subsequent violation by the student (if another AICVRF, direct supervisor sanction or any combination is
     already present in the student’s file), the EVPP office will notify the dean and have him/her examine the file to
     determine if a trend of violation needs to be addressed. [Note: For undergraduate students, “dean” in this document
     refers to the dean of the college in which the most recent violation occurred. For graduate students, “dean” refers to
     the dean of the Graduate School.] If the dean feels that it is the case that there is a trend of violation, the dean will
     impose or request that the EVPP impose the appropriate sanction. The dean will then notify the student of her/his
     decision, as well as inform the student of her/his right to appeal to the CIC.
     Should the student desire to appeal either a direct supervisor’s or dean’s decision, the student will notify the dean
     that he/she requests an appeal hearing before a CIC. The notification must be in writing and delivered to the dean
     within ten (10) days of the student’s initial notification of the direct supervisor’s or dean’s findings. Such an appeal
     must specify if the student is appealing the finding of violation or the fairness of the sanctions.
4.   HEARINGS BEFORE A CIC
     The CIC functions only as an appeal committee. This committee will confer to hear the facts of the case and to
     render judgment regarding the appropriateness of the original finding/sanction.
     Once an appeal hearing has been requested, the dean’s office will make a reasonable attempt to notify (a) the
     appealing party and any accusing parties (as well as the accusing party’s witnesses), (b) any faculty member(s)
     involved, and (c) the selected members of the committee not less than seven (7) working days before the
     scheduled hearing. (These time frames are contingent upon the academic calendar and the necessity of bringing
     closure to a situation and, at the discretion of the dean, may be adjusted as deemed necessary).
     If the student is appealing the finding of violation itself, the accuser has the burden of proving his/her case by the
     preponderance of the evidence (proof that leads a reasonable person to conclude that the facts in issue are more
     likely to have occurred than not).
     If the student is appealing the sanctions, only facts presented before the committee or that are present in the
     student’s file (and have bearing on the present case) may be considered in judging the fairness of the original
     finding. It is the responsibility of the appealing student to offer evidence that supports a different sanction.
     The appealing party, during the course of the appeal, may, at her/his own expense, seek advice of legal counsel or
     a legal adviser. Counsel may advise the student but may not present at the appeal. Additionally, the appealing
     party may have one person accompany her/him to the appeal. This person cannot act as a witness.
     An opportunity will be provided for the appealing party to present her/his version of the facts and to present other
     evidence, including witnesses, in support of her/his appeal. Witnesses not having information directly pertaining to
     the appeal may not be allowed. The appealing student should notify her/his witnesses of her/his request that they
     present information at the hearing. The appealing student is responsible for making sure that her/his witnesses

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      attend the hearing and/or for providing any notarized written information or official University reports (the student
      may request these through the presiding dean’s office) that she/he would like considered at the appeal. The
      appealing party, through the dean, will also have the right to hear and question evidence. The dean may impose
      reasonable limitations upon the presentation of evidence and the questioning of witnesses.
      If the student chooses not to testify at the appeal, no inference may be drawn from this action. If the student
      chooses not to attend the appeal, it will be assumed that the student revokes her/his appeal. Evidence that shows
      that the student has been contacted, however, should be entered into the record. (In the event that the accused is
      late to the hearing, the CIC will assume that the student has chosen not to attend the appeal and the appeal will be
      withdrawn).
      Disorderly or disruptive behavior by any individual in the appeal process may, at the discretion of the dean, result in
      the removal of that individual from the hearing and the hearing may continue.
      The University will provide a recording of the hearing either by court reporter, electronic recording, or notes or
      minutes taken by a recording secretary. For sanctions resulting in less than suspension or expulsion, the recording
      will be destroyed following the conclusion of the appeal. Suspension/expulsion sanctions result in records being
      maintained permanently in the Office of Academic Affairs. The appealing party may, at her/his expense, make a
      personal recording of the hearing.
      Appeal hearings will be closed with the exception of those directly hearing or involved in the case.
5.    ON FINDINGS OF A CIC
      The CIC is not responsible for adhering to strict rules of evidence or bound to precedents.
      The CIC will consider only the facts presented during the hearing and the facts already contained in the appealing
      student’s academic file.
      At the conclusion of the hearing, the CIC shall meet to adjudicate in a closed session. If the fact of violation is in
      dispute, the faculty and student members will first vote as to whether or not the original finding of violation—by
      faculty member, direct supervisor or dean—has merit.
      In the case that the CIC finds no violation, the student’s file will be cleared of all documents that relate solely to this
      case. If it is the appropriateness of the sanctions that is under appeal, the CIC will vote on the fairness of the original
      sanction. If the CIC finds that the original sanction is not appropriate, the members will discuss alternative sanctions
      that may include sanctions more severe than those originally imposed/recommended. (The CIC may impose any of
      the sanctions described in the Code of Student Life up to and including suspension or expulsion. The CIC can
      recommend to the dean of the college that suspension or expulsion is the appropriate sanction. In the case of such a
      recommendation, the case will immediately be referred to the dean and forwarded to the EVPP office, and all further
      action will be taken by the EVPP).
      The appealing party will not be present for the discussion, voting and/or sanctioning portion of the appeal, and the
      University does not have to record the adjudication.
      The CIC will, at the conclusion of the appeal, discuss its finding with the appealing party.
      Additionally, the dean’s office will forward a written statement of the findings and the formal action to be taken by the
      University to the student within five (5) working days, as defined by the University.


 6.    Student Drop Procedure:
       If a faculty member charges a student in one of his/her classes with a violation of the Academic Integrity Code
       (AIC) and the student drops that class before the issue has been resolved, the faculty member may submit a grade
       change at the end of the semester to the Registrar’s Office changing the student’s grade from “X” to “XF” and
       indicating that the change is due to a violation of the AIC. This may only occur when the faculty member determines
       that the appropriate penalty for the AIC violation is a failing grade in the class.


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    7.   INTEGRITY CODE AND LAWS OF THE LAND
         Violations of local, state, federal or international codes and laws must be dealt with through ordinary processes of
         law and by the appropriate authorities.

SECTION B: SEMESTER GRADE CHALLENGE
The Academic Appeals Committee hears appeals involving disputes over final course grades. The committee consists of
the following:
          Chair: faculty member (appointed by the EVPP from the elected members)
          Six faculty (one from each college, elected by the colleges)
          Six students (appointed by Student Government)
When an appeal is necessary to be heard, the chair chooses a panel of two additional faculty members from the remaining
five faculty members, and two students from among the six student members.
CHALLENGE PROCEDURE
   1. Before a grade-challenge hearing can be scheduled with the committee, the student must make the initial appeal to
      the faculty member of that particular course; or if the faculty member is no longer with the University, the student
      must appeal to the head of the department that offered the course. If no resolution is reached at the department
      head level, the student may appeal to the dean of the college in which the course was offered. If at this point the
      problem has not been resolved to the satisfaction of the student, the student may file a formal appeal with the
      Academic Appeals Committee.
   2. A student desiring a hearing before the Academic Appeals Committee must file a written request for an appeal
      hearing with the dean of the college in which the course was offered. The dean will forward the appeal to the EVPP.
       Deadlines to file a formal grade challenge:
       If the grade being challenged was given during the spring semester, spring intersession, or a summer session –
           October 1
       If the grade being challenged was given during the fall semester or winter intersession – March 1
       The student must understand that the act of filing the written request is construed as authorizing all committee
           members to have access to all records, including academic, civil and medical records where relevant and
           appropriate, that may have a bearing on deliberations.
   3. The written request for an appeal hearing must be accompanied by a statement from the student outlining the basis
      for the appeal, copies of any evidence and supporting documents that will be introduced at the hearing, and the
      names of any witnesses who will be present. The faculty member also has the right to provide evidence or bring
      witnesses to the committee.
   4. Upon receipt of the appeal, the EVPP shall notify the chair of the Academic Appeals Committee, who will, within
      three (3) working days, appoint the panel to hear the appeal. The chair will set a date for a hearing within 10 working
      days and inform the student, faculty member, the faculty member’s department head, and the appropriate dean of
      the time and place for the hearing. All parties will be given five (5) working-days’ notice of the hearing and the
      opportunity to confirm their attendance.
   5. Failure of the student to appear without justifiable cause terminates the right to appeal. The faculty member may
      waive the right to appear at the hearing, and a faculty member who has not waived the right to appear, but
      nonetheless fails to appear without notice, will be deemed to have waived the right to appear. No hearing may take
      place in the absence of the faculty member unless the faculty member has specifically waived the right to appear or
      has failed to appear without notice.
   6. The burden of proof shall be upon the student to prove his/her case by a preponderance of evidence. The student
      and the faculty member shall have the right to have counsel present, to present such witnesses and documentary
      evidence as may be pertinent and to cross-examine witnesses. Legal counsel, if present, may offer counsel and
      advice, but may not participate in the hearing.
   7. All parties shall be afforded the opportunity for reasonable oral argument.
   8. Upon request, sufficiently in advance by either party, the chair shall cause testimony presented at the hearing to be
      recorded. A copy of the recording may be obtained from the chair at the expense of the requesting party.

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    9.  Immediately after hearing an appeal, the panel will go into closed session to deliberate and render a decision that is
        approved by at least three members of the panel.
    10. The student and faculty member will be informed of the panel’s decision orally at the conclusion of the deliberations.
        A formal letter to all interested parties, with a copy to the EVPP, will confirm the panel’s decision.
    11. If the panel finds that due to an arbitrary, capricious or prejudiced action, a student received an unearned grade, the
        panel will recommend to the faculty member that the grade be changed. If the faculty member is no longer at the
        University, the department head or dean of the college will facilitate changing the grade.
    12. Either party will have the right to appeal the decision of the panel to the EVPP. Written notice of the appeal by either
        party will be given to the committee chair, who will notify the other party and the EVPP within three (3) working days.
        All documents and any recordings of testimony at the hearing will be forwarded to the EVPP who will review them
        and render a decision within five (5) working days.
    13. There will be no further appeal from the decision of the EVPP.
    14. In the event that the faculty member loses the appeal at either level, he/she will be given the opportunity to change
        the student’s grade. If the faculty member refuses to change the grade, the EVPP will direct the Registrar to change
        the grade, without prejudice to the faculty member.

SECTION C: CLASS ATTENDANCE
   Students who miss classes for five or more consecutive days for reasons of official University business or at the
   request of the faculty member, will be given the opportunity to make up the missed work without penalty provided
   the student informs individual professors prior to the departure. Students can request an Absence Notification via
   this form.

SECTION D: STUDENT VETERAN PROCEDURE
It is the rule/procedure of WTAMU to provide academic support to any student who, as a result of her/his service to her/his
country, requires medical treatment.
No WTAMU student who has served in an active or reserve capacity as a member of the United States military – including
all regular, reserve and National Guard components – shall pay an academic penalty for seeking medical attention for
issues directly related to that service. She/he is entitled to make up any class, test, examination laboratory, presentation or
other academic-related event missed for service-related medical reasons without prejudice to the student’s final course
grade or evaluation.
After the student returns from service-related medical treatment, she/he will be given a reasonable time to prepare for any
make-up tests, examinations, laboratory sessions, presentations or other activities.
Class sessions a student misses due to the performance of state or federal military service (either active or inactive) must
be counted as excused absences and may not be used in any way to adversely impact the student’s grade or standing in
class. If the faculty member teaching the course determines that the student has completed sufficient work and
demonstrated sufficient progress toward meeting course requirements, the faculty member may award a final grade without
requiring the student to make-up any work missed by the student for service-related medical issues. But, any waived
assignments may not adversely impact the student’s grade or standing in the class.

SECTION E: COMPLAINT PROCEDURE
Individuals who wish to file a complaint regarding a department or member of the WTAMU community should make every
effort to resolve the issue. Students should attempt an informal resolution by interacting directly with the individual(s)
involved or with the first-line supervisor of the individual, department, or office. If satisfactory resolution is not reached
through this informal interaction, a student may submit a formal written complaint using the online University complaint
form, www.wtamu.edu/complaintprocess.
All formal complaints submitted on the University complaint form will be routed to the applicable department for resolution.
Please see the complaint flow chart, www.wtamu.edu/complaintprocess, for specific steps in the process. Should students
need assistance in determining how or where to proceed with filing a complaint, they may contact the Office of Student
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Enrollment, Engagement and Success in the Jack B. Kelley Student Center, Suite 102, or by phone 806-651-2050.

SECTION F: STUDENT GRIEVANCE PROCEDURE
If the student’s complaint is not satisfactorily resolved as a result of submitting the University complaint form, he/she may
initiate the formal grievance process. Any student shall have the opportunity to have his/her grievance, regardless of its
nature, heard according to the student grievance procedure. This includes Section 504 (law that prohibits discrimination
based on disability) grievances. For more information on Section 504, go to http://www.hhs.gov/civil-rights/for-
individuals/disability.

If a student formally initiates this student grievance process, he/she waives the right to have his/her grievance heard before
any other University grievance channel (i.e., classified employee grievance procedure, faculty grievance procedure, etc.).
Furthermore, if a student formally initiates the process before any other University grievance channel, he/she waives the
right to utilize this student grievance procedure.
The Student Grievance Committee is comprised of a pool of members drawn from two tenured faculty appointed by Faculty
Senate; two students appointed by the Student Government; two staff members appointed by Staff Council. Upon receipt of
a grievance complaint, the EVPP and VPSEES will consult and appoint an appropriate committee from this pool. All
grievance committees will have at least one student, but may or may not have a faculty or staff members, depending on the
nature of the grievance. The chair will be a faculty or staff member from the committee, elected by the membership. The
secretary will be the VPSEES executive secretary and will be an ex-officio/non-voting member. Quorum will be established
when at least three appointed members are present, with at least one of those members being a student. Legal counsel
may also be present in an ex-officio role as needed.

Fundamental to this process is the principle that all parties have made a good-faith effort to resolve the complaint prior to
initiating the formal grievance procedure. The following procedures are intended to provide a process for resolving formal
student grievances in a prompt and equitable manner without prejudice, discrimination, or malice toward the person or
persons initiating the complaint.
* Working days are defined by the University. Summer session working days are not counted in this procedure unless
agreed to by all parties.
    1.   TO FILE A STUDENT GRIEVANCE
         The student must submit a written notice of the allegation to the VPSEES office within 30 working days of the
         discovery of the alleged complaint issue or must provide reasonable justification for any delay. The written
         allegation must include the following:
          Documentation and explanation of the student’s attempt to resolve the conflict and the events leading up to the
             grievance.
          Detailed description of the grievance including the names of the other parties involved. (Include all information
             at this time, as new documentation or materials will not be accepted after the initial grievance is submitted).
          The result/action desired.
         Upon receipt of the written formal grievance, the VPSEES office will then contact other party(ies), as soon as
         practicable, and will request written statements concerning the allegation to be received within seven (7) working
         days. Once these written statements are received, they will be forwarded to the party(ies) initiating the grievance. If
         no other statements are received, the University Student Grievance Committee will move forward with the
         information submitted. The VPSEES office will then forward all written statements and any other materials to the
         Student Grievance Committee within seven (7) working days. The VPSEES shall inform both parties, in writing, of
         the day, time and place of the hearing.
    2.   HEARING
         a. The formal grievance hearing shall be closed.
         b. All present, for whatever length of time, shall consider the proceedings and deliberations to be confidential,
            both during and after the hearing.
         c. A confidential recording of the proceedings will be retained by the chairperson of the committee until the final
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               report is written and said recording shall be deposited with the vice president for student enrollment,
               engagement, and success executive secretary.
         d.    Each party is responsible for notifying their witnesses of the day, time and place of the hearing. Witnesses not
               having information directly pertaining to the grievance may not be called to testify. The maximum number of
               witnesses for each party is three (3) without prior approval of the chair.
         e.    Each party may select one person to appear with him/her and offer support and advice. This person cannot be
               a witness.
         f.    Each party may seek advice of legal counsel/adviser, at their own expense. Counsel/adviser may advise the
               party but may not present the grievance.
         g.    Each party shall have the right to call witnesses and to question witnesses including witnesses for the other
               side.
         h.    Upon completion of the hearing, the chairperson shall, within seven (7) working days, submit a written report of
               the committee’s findings and recommendations to both parties and to the University president. Each
               participating member of the committee shall sign the report and indicate individual agreement or disagreement
               with it.

    3.   ACCEPTANCE OF THE COMMITTEE’S RECOMMENDATION
         a. If the University president accepts the committee’s recommendation, it becomes final and the president is
            charged with overseeing the implementation of any and all recommendations. Details of the implementation will
            be provided, in writing, to both parties within seven (7) working days via certified mail or deliver confirmation.
         b. If the University president does not accept the committee’s recommendation, he/she shall, within seven (7)
            working days, inform both parties in writing of his/her final decision in the case via certified mail or deliver
            confirmation.
         c. The original file and recording, along with the president’s final implementation, will be deposited with the vice
            president for student affair’s executive secretary.
   In the event the University president is named as a principal party to the grievance, the chancellor of The A&M System
   or his/her designee shall substitute for the role of the University president in the grievance process.



SECTION G: Civil Rights & TITLE IX COMPLAINTS
Title IX of the Education Amendments of 1972 states: “no person in the United States shall, on the basis of sex, be
excluded from participation in, be denied the benefits of, or be subjected to discrimination under any education program or
activity receiving Federal financial assistance”. Sexual assault and violence are forms of sexual harassment prohibited by
Title IX and the A&M System rule/procedure and regulation https://www.wtamu.edu/business-finance/title-ix/index.html.

West Texas A&M University complies with applicable laws prohibiting discrimination, including Titles VI and VII of the Civil
Rights Act of 1964, as amended; the Age Discrimination in Employment Act; Executive Order 11246; Title IX of the
Education Amendments of 1972; Sections 503 and 504 of the Rehabilitation Act of 1973; the Vietnam Era Veterans
Readjustment Assistance Act, as amended; the Age Discrimination Act of 1975; the Americans with Disabilities Act of 1990,
as amended; and the Genetic Information Nondiscrimination Act of 2008. WTAMU does not unlawfully discriminate on the
basis of race, color, national origin, religion, sex, age, disability, genetic information or veteran status in admission or
access to, or treatment or employment in, its programs or services.
Members of the WTAMU community, guests and visitors have the right to be free from sexual harassment and violence. All
members of the campus community are expected to conduct themselves in a manner that does not infringe upon the rights
of others. WTAMU believes in a zero tolerance rule/procedure for sex-based misconduct. When an allegation of misconduct
is brought to an appropriate administrator’s attention, and a respondent is found to have violated this rule/procedure,
serious sanctions will be applied. The University is committed to fostering a community that promotes prompt reporting of all
types of sexual misconduct and timely and fair resolution of sexual misconduct complaints, in compliance with Title IX, due
process, the First Amendment to the federal Constitution, and other applicable laws and regulations.

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The following information is broadly available to students, employees, and members of the public as part of the University’s
efforts to ensure that they are aware of the resources available to them in the event of sexual misconduct by faculty, staff,
students, or visitors. Your health, safety, and well-being are the University’s primary concern. If you or someone you know
may be the victim of any form of sexual misconduct, you are strongly urged to seek immediate assistance.


Title IX, Sex-Based Misconduct and Civil Rights Adjudication Process

Upon receipt of a complaint and if deemed to be a Title IX Discrimination complaint, the Civil Rights & Title IX Compliance
Director (CRTIXCD) will assign the complaint for investigation. Upon conclusion of the civil rights investigation, the
investigative report and exhibits will be submitted to the Director for adjudication and sanctioning considerations. The
Director will then assign the case to a hearing body consisting of (1-3) members, also referred to as Designated
Administrators (DAs). A DA is a decision-making entity who determines whether or not allegations of misconduct rise to the
level of a violation based on the evidence provided.
The Director will provide the final investigative report and exhibits, which may be redacted, to the parties. The Director will
also provide written notice to the complainant(s) and respondent(s) which will include an acknowledgement of receipt of the
complaint along with a description of the adjudication process.
The case will then be submitted to the selected hearing body for adjudication and resolution. Hearings will be conducted in
accordance with the Formal Hearing Procedures set forth in this document as well as in accordance with TAMUS Policy
08.01.01 and University Rule 08.01.01 W1.
The complainant(s) and respondent(s) will be informed in writing of the date, time, and place of the hearing. This information
will be sent to the student’s WTAMU email address. For University-related correspondence, it is the student’s responsibility
to check their University email account, check it regularly, and to provide an accurate local mailing address.
A complainant and a respondent must have an advisor with them at a hearing. In cases in which a party does not have an
advisor, the university will provide a trained advisor to assist them in the hearing process.
The burden of proof for the formal hearing will be based on a preponderance of the evidence, which means proof that leads a
reasonable person to find that the facts in issue are more likely to have occurred than not. A determination of the facts will be
based only on the evidence as presented. The technical rules of evidence applicable to civil and criminal cases shall not
apply.
Cross-examination of the complainant, respondent, and any witnesses may not be conducted by the opposing party but must
be conducted by their advisor. Questions are to be directed to the hearing officer or hearing panel chair, who will determine
whether or not each question will be admitted into the hearing. If a question is deemed repetitious or not relevant, the
decision-maker(s) must explain the decision to exclude it. When parties are being subject to cross-examination, the advisor
may not answer on behalf of the party.
In the event that a complainant or respondent is late to the hearing, the hearing body reserves the right to make the
determination on participation in the hearing, and the hearing body is not responsible for beginning the hearing over, recalling
witnesses or re-entering any evidence into the record. If no parties participate in the hearing, a decision will be reached
based on evidence gathered prior to the hearing.
Disorderly or disruptive behavior by any individual during the hearing process may result in removal of that individual from the
hearing process, at the discretion of the hearing body and the hearing process may continue.
Attendance at a hearing may be in person or may be conducted through remote means, provided that all parties and the
hearing officer or hearing panel can see and hear one another in real time during the course of the hearing.
If a complainant, respondent, or witness is not in attendance at a live hearing, the hearing officer or hearing panel cannot rely
on the previously submitted statements of the absent party in reaching a determination, but may utilize all other evidence,
including witnesses who interacted with the absent party, but not hearsay testimony of what the absent party told that
individual. A complainant, respondent, or witness statement can also not be utilized in a determination if that person refuses

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to submit to cross-examination at a live hearing.
The hearing body will record the hearing and that recording remains the property of the institution. Deliberations will not be
recorded. FERPA provides that when information on more than one student is contained in a single education record, each
student may inspect only the information specifically related to him/her. If the recording pertains to only the requesting
student, arrangements may be made to review the recording. An appointment will be required to review the recording, if
applicable. Suspension/expulsion sanctions result in records being maintained permanently in the VPSEES office.
Upon conclusion of the hearing, a written statement of the findings, the formal action to be taken by the University, the
rationale for those actions, and a description of the appeals process will be forwarded (delivered or postmarked) to both the
complainant(s) and respondent(s) within ten (10) business days, as defined by the University.
Formal hearings will be closed with the exception of those directly involved in the hearing. Proceedings will not be open to
the media, social media or any form of live streaming (outside of the online hearing platform).
All cases involving sex-based misconduct that are not Title IX are to be investigated and adjudicated under the Title IX
procedures previously stated noting that; the process is to determine whether or not the allegations are substantiated and, if
substantiated, created a hostile environment.


For all other civil rights complaints (Non sex-based):
The following applies to all civil rights complaints based on race, color, religion, national origin, age, disability, genetic
information, and/or veteran status:
The investigative authority will have five (5) business days to create a final draft report and share that document electronically
with both the complainant and the respondent. The complainant and respondent will have ten (10) business days to review
the report and submit responses and/or written, relevant questions that the party wants asked of any other party or witness.
The investigative authority will, provide each party with the other party’s questions and answers, and allow for additional,
limited follow-up questions from each, provide each party with the questions and answers, and allow for additional, limited
follow-up questions from each party. The investigative authority will have ten (10) business days to complete this process.
The investigative authority must explain to the party proposing the questions any decision to exclude a question as
repetitious or not relevant. The investigative authority will then have five (5) additional business days to prepare a final report
for review by OGC and SECO. Once approved by OGC and SECO, the final report shall be submitted directly to the
Designated Administrator by the Director.


Decisions (non sex-based cases) Involving Employees as Respondents:
For a complaint against an employee or third party, the Designated Administrator will review the investigation report and
provide a draft decision to OGC for review within five (5) business days after receiving the investigative authority’s report.
OGC will coordinate with SECO and provide its review of the draft decision within five (5) business days. The Designated
Administrator will have five (5) business days to finalize the decision and provide it to the complainant(s), the respondent(s),
and the investigative authority. In cases in which the allegations are substantiated, the final decision will be provided to the
respondent’s supervisor.
When the respondent(s) is an employee, both the complainant(s) and the respondent(s) may review a copy of the
investigation report and exhibits, with admonishments regarding privacy, after the decision is rendered. The report will be
redacted in accordance with state and/or federal law.


Appeal of Decision and/or Sanctions:
With respect to allegations of sex discrimination, including sexual harassment and sex-based misconduct, the Designated
Administrator’s decision and the sanction(s) imposed by the sanctioning authority can be appealed by the complainant(s)
and/or the respondent(s), but only on the following bases, as applicable:
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(a) a procedural irregularity that affected the outcome;
(b) new evidence, not reasonably available at the time the determination regarding responsibility or dismissal was made, that
could affect the outcome. The new evidence must be provided at the time of appeal with the appropriate member appeals
form;
(c) the Civil Rights & Title IX Director, investigator(s), or decision-maker(s) had a conflict of interest or bias for or against
complainants or respondents generally or the individual complainant or respondent that affected the outcome;
(d) the appropriateness or severity of the sanctions.


The appeal will be confined to a review of the written documentation and record of the investigation and/or hearing, and
pertinent documentation regarding the grounds for appeal. The appeal does not create an entitlement to a new investigation
or a full re-hearing of the complaint. The appeal process for both the complainant(s) and the respondent(s) must be
equitable, but not necessarily identical. A request for appeal must be submitted in writing, within five (5) business days to the
Designated Administrator chairperson after the final decision and sanction have been issued.
Members must notify the other party in writing when an appeal is filed and implement appeal procedures equitably for both
parties. Parties will be given three (3) business days to review the appeal and submit any written response in support of, or
challenging, the outcome to the appellate authority.
If the respondent is an employee or third party, the appellate authority will provide a draft decision to OGC for review within
five (5) business days after receiving the appeal(s). OGC will coordinate with SECO and provide its review of the draft
decision within five (5) business days. The appellate authority will then have five (5) additional business days to finalize the
decision and provide it to the complainant(s), the respondent(s), and the investigative authority simultaneously to the extent
possible. If the complaint on appeal is substantiated, the respondent’s supervisor will also be informed. Circumstances may
warrant extensions to the timeframes in this section. The appellate authority should send extension requests, if needed, to
the office or individual(s) who appointed them. Both the complainant(s) and the respondent(s) must be notified of any
extensions in writing.
For student cases, the appellate authority has ten (10) business days to reach the decision and provide it to the
complainant(s), the respondent(s), and the investigative authority simultaneously to the extent possible. Appellate authorities
are exempt from obtaining OGC review of the decision prior to issuance but may request assistance from OGC and SECO
when needed.
The appellate authority may reach one of the following outcomes:
(a) affirm the original finding and sanction;
(b) affirm the finding and modify the sanction; or
(c) remand the case to a new hearing or review.


Appeals – Allegations of Discrimination Not Based on Sex:
Any employee disciplined pursuant to this regulation may appeal that action in accordance with System Policy 12.01,
Academic Freedom, Responsibility and Tenure; System Policy 32.01, Employee Complaint and Appeal Procedures; System
Regulation 32.01.01, Complaint and Appeal Procedures for Faculty Members; System Regulation 32.01.02, Complaint and
Appeal Process for Non-faculty Employees; and/or other system policies or regulations as appropriate.
Any student receiving a sanction of separation (expulsion or suspension) pursuant to this regulation may appeal the sanction
in accordance with the member rule and/or code of conduct for student grievances.
Employees appealing sanctions issued pursuant to this regulation will receive an unredacted copy of the investigation report
and exhibits, upon request, with admonishments regarding privacy.

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Assistance can be obtained from:
       Emergency, 911
       University Police Department, 806-651-2300
       Family Violence/Rape Crisis Line, 806-374-5433
       Student Counseling Services, Classroom Center, Room 116, 806-651-2340
       Student Medical Services, Virgil Henson Activities Center, Room 104, 806-651-3287
During business hours, you are strongly urged to contact the Director of Civil Rights & Title IX Compliance, Old Sub
Building, Room 108, 806-651-3199.
In order to report an alleged violation of the Title IX Sexual Misconduct Policy, you may report directly to the Director of Civil
Rights & Title IX Compliance at 806-651-3199, University Police Department 806-651-2300, or you may complete the
Online complaint form, https://apps.wtamu.edu/forms/complaint.php.

SECTION H: DISABILITIES ACCOMMODATIONS APPEALS COMMITTEE
Students with disabilities needing accommodations must request them through the director of the Office of Student
Disability Services (SDS). Any approved accommodations will be based on documentation demonstrating eligibility under
state and federal regulations. If a student disagrees with accommodation decisions made by SDS, he/she may discuss the
concern with the director of SDS. Students must demonstrate that they have made a good-faith effort to resolve the
complaint with the SDS director. If the complaint is still not resolved satisfactorily, the student may visit with the assistant
VPSEES. The assistant VPSEES may take up to five (5) working days to determine an appropriate resolution. During this
process, informal discussions will take place, with all parties involved, in an attempt to resolve the complaint.
If no informal satisfactory resolution is determined within five (5) working days, the student may request the complaint be
referred to the Disabilities Accommodations Appeals Committee. This request must be in writing to the VPSEES and must
contain all reasons for the appeal. This committee will consist of the following members or designated replacements:
      VPSEES, chair
      Assistant EVPP
      Director of student medical services
      Faculty (from special education or other discipline with expertise in disability issues)
Recommendations of the disabilities accommodations appeals committee will be forwarded to the president for final
approval and implementation.

SECTION I: CAMPUS SECURITY REPORT
The Campus Security Report is available in the Office of Student Enrollment, Engagement and Success or online at
www.wtamu.edu/reports.

SECTION J: BEHAVIOR INTERVENTION TEAM (BIT)
The Behavior Intervention Team (BIT) exists to help promote the development of a healthy campus community at WTAMU.
The team, made up of select University staff and faculty, appointed by the VPSEES, provides intervention and support to
students who may display behavior that causes reason for concern for the welfare of the individual or the University
community. Normally, the BIT will work with a student, when necessary, to create intervention plans that will provide
support for the student on a voluntary basis. However, in cases where the safety of a student or others, or when there is
significant disruption or potential disruption to the learning environment at the University, the BIT has the authority to
compel a student to follow a care or intervention plan. Students who do not comply with directives of the BIT may be
referred to the VPSEES for a violation of the Code of Student Life. The BIT will make recommendations to the president,
Provost, and VPSEES with regard to a student’s ability to continue at WTAMU. The BIT will develop and review University
rules/procedures which address these situations and behaviors.


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SECTION K: LEAVE POLICY
Any pregnant students, or students planning to become pregnant, should consult their health care provider to determine
what, if any, additional precautions are needed based on their individual situation. It is the responsibility of the student to
communicate their needs to the Office of the Vice President for Student Enrollment, Engagement and Success as soon as
possible in order for risk reduction to begin when it can be most effective, and to determine if additional modifications are
necessary. While the university cannot mandate that the student notify that she is pregnant or is planning to become
pregnant, the university strongly recommends that students do provide notification so appropriate steps can be taken to
ensure the health of both parent and child. To communicate health circumstances or to request additional information
please contact the Office of the Vice President of Student Enrollment, Engagement and Success.



                                           A P P E N D I X A: D E F I N I T I O N S

Administrative Hearing
An administrative hearing is the process of adjudicating allegations of violations of the Code of Student Life by a student
conduct officer. The assigned student conduct officer makes the decision of responsibility and assigns sanctions, conditions
and restrictions as appropriate.
Written notification of the outcomes of the administrative hearing will be provided to the student within five (5) University
working days of the conclusion of the administrative hearing.

Associate Deans
Associate deans are members of the faculty appointed by the dean of a college to serve half-time throughout the calendar
year as a member of the dean’s staff. As academic leaders who assist in the oversight and coordination of college activities,
associate deans may have various assignments including implementing and carrying out campus policies and advancing
the mission of the college as directed by the college dean. Associate deans may be called upon to assume some academic
duties normally assigned to the college dean in order to allow him/her to participate more in institutional development.
Associate deans have 12-month faculty appointments and are expected to be present whenever the campus is open. The
normal teaching responsibilities for associate deans are two courses (or six adjusted credit hours) for each fall and spring
semester and one course (or three adjusted credit hours) for the summer terms. Since they may periodically have special
assignments like program accreditation or program development, teaching responsibilities for associate deans may be
reduced on a semester by semester basis if justified by the college dean and approved by the Provost.

Associate Provost
The associate provost reports directly to the provost and assists with responsibilities related to academic affairs. The
associate provost has three primary areas of responsibility. The first involves leading those organizations and initiatives that
provide academic support and out-of-class learning experiences for students such as, advising services, first year
experience programs, and learning communities. The second area involves coordinating and directing SACS QEP efforts,
including the development, implementation, and assessment of the University QEP. The third area is to provide assistance
to the provost and the Office of Academic Affairs with a variety of issues including student requests and appeals,
management of the Associate Deans Council, and attending meetings and functions at the request of the provost. The
associate provost is also responsible for oversight of the teaching excellence center and the freshman seminar.

Behavior Intervention Team (BIT)
The Behavior Intervention Team (BIT) exists to help promote the development of a healthy campus community at WTAMU.
The team, made up of select University staff and faculty, appointed by the VPSEES, provides intervention and support to
students who may display behavior that causes reason for concern for the welfare of the individual or the University
community. Normally, the BIT will work with a student, when necessary, to create intervention plans that will provide support
for the student on a voluntary basis. However, in cases where the safety of a student or others, or when there is significant
disruption or potential disruption to the learning environment at the University, the BIT has the authority to compel a student
to follow a care or intervention plan. Students who do not comply with directives of the BIT may be referred to the VPSEES
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for a violation of the Code of Student Life. The BIT will make recommendations to the president, provost, and VPSEES with
regard to a student’s ability to continue at WTAMU. The BIT will develop and review University rules/procedures which
address these situations and behaviors.

College Deans
College deans have the responsibility to provide leadership and direction to associate deans, direct supervisors and faculty,
encourage and stimulate growth and quality in programs, represent views of students and faculty in University planning and
functions, assist students in articulation and progress in their college programs, and advance and improve the image of the
college and the University. Deans are also responsible for administrative duties, including curricular supervision and
coordination, budget preparation, supervision of faculty evaluation, expenditure approval, student recruitment and retention,
and external fund raising.

Complainant
The term “complainant” refers to the party reporting a complaint or concern against another party.

Conditions for Continued Enrollment
In situations where a student endangers or displays the potential to endanger others, the University may require, without a
hearing, the student to meet certain conditions which may include an evaluation from the University’s counseling staff as a
condition of continued enrollment. The University’s counseling staff will determine if further referrals are necessary.

Consent
Means assent in fact, whether express or apparent. Consent is communicated through words or clear actions indicating a
freely given agreement to perform a particular sexual act. It is the responsibility of the person who wants to engage in
sexual activity to ensure the consent of their partner. Consent must be present throughout the sexual activity.
Individuals cannot willingly give their consent when they are coerced, forced, manipulated, intimidated, pressured,
threatened or in a state of helplessness. The ability to consent is also jeopardized when there is an actual or perceived
power differential between individuals.
Individuals must be of sound mind meaning they are not mentally incapacitated by unconsciousness, disability, drugs,
alcohol, sleep, sleep deprivation, injury, or involuntary physical constraint.
Consent to engage in sexual activity at one time and place does not mean consent is implied for future sexual activity.
Consent must be willingly given for each time, place, and form/type of sexual activity. This is true regardless of the length of
the relationship between individuals.
Consent cannot be inferred from or interpreted by silence.

Deferred Disciplinary Suspension
Deferred disciplinary suspension is a period of time where a disciplinary suspension may be deferred for a period of
observation and review, but in no case will the deferred suspension be less than the remainder of the semester. Further
instances of misconduct under the Code of Student Life during this period may result in additional sanctions, conditions
and/or restrictions. A student on deferred suspension is deemed “not in good standing” with the University.

Disciplinary Expulsion
Disciplinary expulsion occurs when the student is permanently withdrawn and separated from the University. The status of
expulsion will be shown permanently on the student’s academic record, including the transcript.
Disciplinary Good Standing
The term “disciplinary good standing” is defined as a student not currently on deferred disciplinary suspension or any level
of disciplinary suspension/expulsion that has fulfilled in a timely manner, any sanctions, conditions and/or restrictions
imposed.


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Disciplinary Probation
Disciplinary probation is a period of time during which a student’s conduct will be observed and reviewed. The student must
demonstrate the ability to comply with University rules/procedures and/or standards and any other requirement stipulated
for the probationary period. Further instances of misconduct under the Code of Student Life during this period may result in
additional sanctions, conditions and/or restrictions.

Disciplinary Reprimand
An official warning that the student’s conduct is in violation of WTAMU student rules, found in the Code of Student Life.

Disciplinary Suspension
Time-limited disciplinary suspension is a specific period of time in which a student is not allowed to participate in class or
University-related activities. The status of disciplinary suspension will be shown on the student’s academic record, including
the transcript. Notification of disciplinary suspension of a student will indicate the date on which it begins and the earliest
date the application for student readmission will be considered. The student conduct officer may deny a student’s
readmission, if the student’s misconduct during the suspension would have warranted additional disciplinary action. If the
student has failed to satisfy any sanctions, conditions and/or restrictions that have been imposed prior to application for
readmission, the student conduct officer may deny readmission to a student.

Dating Violence
An act, other than a defensive measure to protect oneself, by an individual against a victim with whom there is or was a
romantic or intimate relationship or marriage, and that is intended to result in physical harm, bodily injury, assault, or sexual
assault or that is a threat that reasonably results in a fear of such harm.

Domestic Violence
An act against another member of the family or household that is intended to result in physical harm, bodily injury, assault,
sexual assault, or the threat of which reasonably causes fear of such harm.

Faculty
A faculty member is defined as a person employed by WTAMU whose duties as specified in his or her letter of appointment
include teaching and/or research and/or service, and whose rank, as identified in the letter of appointment, is instructor,
assistant professor, associate professor, or professor, including fixed-term academic professional track faculty.
Other University personnel with classroom teaching responsibilities (administrators whose letters of appointment do not
specify teaching and/or research, part-time instructors, members of the University coaching staff and any employee who
does not have a letter of appointment) are required to follow policies and procedures contained in the Faculty Handbook
sections entitled “General Rules and Procedures Affecting Faculty” and “Rules and Procedures Relating to the Teaching
Function” as applicable. Any grievance or other action brought by a University employee referenced in this paragraph shall
be governed by rules and procedures of the University for non-faculty members.

Gender-based Harassment
Any acts of verbal, nonverbal or physical aggression, intimidation, or hostility based on gender or gender-stereotyping even if
those acts do not involve conduct of a sexual nature. Gender-based harassment occurs when individuals are subjected to
such treatment because they exhibit a perceived stereotypical characteristic for their gender or for failing to conform to
stereotypical notions of masculinity or femininity. When such harassment interferes with an individual’s performance in any
activity, program or event sponsored or administered by the University or creates a hostile working, learning or living
environment, it is a violation of University rules.
Heads of Academic Departments
The heads of academic departments, who serve as members of the academic administration, are direct supervisors and
may be an associate dean, director of a school, or a direct supervisor who is appointed for a three-year term with annual
evaluations. Direct supervisors can be given subsequent three-year terms with approval of appropriate academic dean and
provost. Each direct supervisor reports to the EVPP through the dean of the appropriate college. The direct
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supervisor is responsible for the proper implementation and administration of University rule/procedure and for seeing that
the department’s business is transacted efficiently and expeditiously. The direct supervisor must articulate constructive
departmental aspirations, standards and points of view, and is responsible for maintaining communication, cooperation and
rapport between the faculty and administration. Among the duties of the direct supervisor are the representation of faculty to
the dean of the college, detailed review and objective evaluation of the accomplishments of the faculty, and submission of
written recommendations through administrative channels regarding initial appointment, continuing employment, promotion,
salary and tenure of faculty personnel within the department.
Primary responsibilities of the direct supervisor in personnel management are recruitment, assignment, evaluation, reward,
development/motivation, and personal guidance. In curriculum management, duties include development, evaluation and
scheduling. Fiscal management duties are budget planning/assessment, preparation and implementation. Facility
management duties include monitoring maintenance and use of appropriate classroom, laboratory, office and storage
facilities. Collegial leadership is also a primary responsibility of the direct supervisor.
Administrative duties of the direct supervisor are to communicate University rule/procedure and direction and to develop
and implement department rule/procedure and direction to students and faculty through department meetings, individual
discussions and meetings, memos and letters. The direct supervisor should advise the administration of departmental
needs. The direct supervisor should develop a good rapport with faculty and students and maintain an open and fair
attitude. Contacts with alumni and organizations employing program graduates should be maintained. The direct supervisor
should provide visibility and vitality for department programs through involvement in professional service at the local,
regional and national levels, support of research by faculty, student recruitment and service on University committees, and
support of University policies and activities. The direct supervisor should demonstrate ability and achieve respect by
providing quality and responsible leadership, quality teaching, research and service, making fair, equitable and defensible
decisions, openly discussing issues, supporting faculty in the pursuit of achieving their full potential, and by being available
for student counseling and advisement.
The direct supervisor, because of the varied demands of the assignment, must be a person with numerous abilities and
strengths. An ideal direct supervisor, a leader with effective communication and listening skills, will be innovative, creative
and open to new ideas; fair, objective and impartial; organized; decisive, honest and candid; friendly and approachable with
a sense of humor; dedicated; realistic in departmental concerns; compassionate and sensitive; respected as an
accomplished teacher/scholar; and willing to meet the time requirements of the position. Given the varied duties of the
direct supervisor, access to development programs are a must to continually assure quality leadership in the position.
Development programs/opportunities, as available and possible, should include external and internal seminars/workshops
in human relationships, leadership, communication, management, fiscal affairs and computer literacy.

Initial Conference
Once the investigative process is complete and formal allegations have been assigned, but prior to a formal hearing, a
responding student has the option to resolve the issue informally. In order to effectuate an informal resolution, a responding
student must (1) accept the finding(s) with regard to the allegations presented, and (2) accept the sanction(s), condition(s),
and/or restriction(s) recommended by the student conduct officer.
In cases where an informal resolution is reached, there is no formal hearing and no appeal. The case will only be reopened
if new material, previously unavailable, is presented.

Member of the University Community
The term “member of the University community” includes any person who is a student, faculty or staff member, University
official or any person employed by the University.




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Not in Good Standing
A student who is not in good standing is subject to the following restrictions:
     You may be ineligible to hold an office in any student organization recognized by the University or to hold any
        elected or appointed office of the University.
     You may be ineligible to represent the University in any way, including representing the University at any official
        function, intercollegiate athletics or any forms of intercollegiate competition or representation. This includes events
        taking place both on and off of the University campus.
     You may be ineligible to receive a University administered scholarship when the length of the period of not in good
        standing is greater than one semester. Some scholarships adhere to stricter guidelines, and, therefore, ineligibility
        may result from a lesser length of not in good standing. This sanction implies a serious offense and must be
        uniformly applied by the office administering the scholarship upon notification by the University conduct officer.
     Additional restrictions or conditions may also be imposed, depending on the nature and seriousness of the
        misconduct.


Official Academic Record
The term “official academic record” includes, but is not limited to, applications for admission, the awarding of a degree,
grade reports, test papers, registration materials, grade change forms, and reporting forms used by the Office of the
Registrar.

Executive Vice President and Provost (EVPP)
The Executive Vice President and Provost (EVPP) is the chief academic officer and is responsible for the administration of
the colleges and the Graduate School and Research. The academic deans report to the EVPP. Other administrative
personnel who report directly to the EVPP include the associate Executive Vice President and Provost, assistant Executive
Vice President and Provost, University librarian, directors of education on demand and institutional research. The EVPP
annually evaluates these personnel and provides written and oral evaluations, which are filed in the Office of the Executive
Vice President and Provost and the Office of Personnel Services. The EVPP is chairperson of the Council of Deans, which
advises the vice president on matters related to academic affairs.

The Office of the Executive Vice President and Provost is the focal point of recommendations to the president regarding
academic rule/procedure, including personnel policies affecting faculty. The EVPP makes recommendations regarding the
allocation of available academic resources, monitors faculty workloads, and is responsible for the coordination of faculty
recruitment and improvement. This vice president also reviews recommendations of the academic deans and direct
supervisors regarding appointments, salary increments, promotions, tenure, and terminations of faculty and academic staff,
and transmits them to the president with recommendations.
The EVPP is also responsible for the administration of programs related to completion of degree requirements on the
undergraduate and graduate levels, academic planning and programs and the content of the WTAMU Catalog.

Respondent
The term “respondent” refers to the party responding to the complaint or concern reported regarding their behavior or
actions.

Sexual Assault
The use of physical force, threat of harm, emotional coercion or intentional impairment of an individual’s judgment to force
oral, anal, or vaginal penetration by a sexual organ of another or anal/vaginal penetration by any means against the victim’s
will or without his/her consent. Intercourse without conscious and total consent is assault. An individual who is mentally
incapacitated (e.g. intoxicated), unconscious, or unaware that sexual assault is occurring is considered unable to give
consent. Sexual assault is not restricted to strangers but may include an employer, acquaintance, classmate,
professor/instructor, coworker, spouse or partner. As defined by the Texas Penal Code (Section 22.011). If the person
intentionally or knowingly: (a) causes the penetration of the anus or sexual organ of another person by any means, without
that person’s consent; (b) causes the penetration of the mouth of another person by the sexual organ of the actor, without

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that person’s consent; or (c) causes the sexual organ of another person, without that person’s consent, to contact or
penetrate the mouth, anus, or sexual organ of another person, including the actor.

Sexual Exploitation
A situation in which an individual(s) takes non-consensual or abusive sexual advantage of another for his or her own
advantage or benefit, or to benefit or advantage anyone other than the one being exploited. For example, sexual
exploitation could include such actions as: secretly videotaping sexual activity, voyeurism, sexually-based stalking,
invasion of sexual privacy, exposing one’s genitals or causing another to expose one’s genitals, and knowingly exposing
another person to a sexually transmitted infection or disease. Sexual exploitation is a form of sex-based misconduct.

Sexual Harassment
A form of sex discrimination. Unwelcome conduct on the basis of sex (of a sexual nature or otherwise): (1) by an employee
of the member who conditions the provision of an aid, benefit, or service of the member on an individual’s participation in
that unwelcome sexual conduct; (2) determined by a reasonable person to be so severe and pervasive and objectively
offensive that it effectively denies a person equal access to the member’s education program or activity; or (3) sexual
assault or dating violence, domestic violence, or stalking based on sex.


Stalking
Engaging in a course of conduct directed at a specific person that would cause a reasonable person to: (a) fear for the
person’s safety or the safety of others; or (b) suffer substantial emotional distress

Student
The term “student” includes all persons admitted to or enrolled in courses at the University, either full time or part time,
pursuing undergraduate, graduate or professional studies, and/or those who attend postsecondary educational institutions
other than WTAMU and who reside in University residence halls. Persons who are not officially enrolled for a particular term
but who have a continuing relationship with the University are considered “students”.

Student Conduct Hearing Officer
The term “student conduct hearing officer” means a University designee authorized by the VPSEES to adjudicate alleged
violations of the Code of Student Life.


Student Organization
The term “student organization” means any number of students who have complied with the formal requirements for
administration and to interpret administrative rule/procedure to the students to assure continued development of a quality
student campus life. The vice president for student enrollment, engagement and success administers the Code of Student
Life.

University Disciplinary Committee Hearing
A University Discipline Committee hearing panel consists of three (3) committee members including faculty, staff and
students. Availability may determine a different composition for the hearing panel, and in complaints involving
discrimination, sexual misconduct, or other sensitive issues, students may be removed from the panel. During the
University Discipline Committee hearing, a designated committee chairperson will facilitate the hearing process. Hearing
proceedings, excluding the deliberations of the University Discipline Committee, will be recorded by the University. A
University Discipline Committee is not an option after an initial conference.

University Official
The term “University official” includes any person employed by WTAMU while performing assigned administrative or
professional responsibilities.


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Vice President for Student Enrollment, Engagement and Success (VPSEES)
The vice president for student enrollment, engagement and success (VPSEES) is the chief student enrollment,
engagement and success officer and is responsible for supervising all matters relevant to student life. This administrator’s
primary responsibility is to enhance the general welfare of the student body by being an effective voice for the students to
the administration and to interpret administrative rule/procedure to the students to assure continued development of a
quality student campus life. The vice president for student enrollment, engagement and success administers the Code of
Student Life.

This officer provides overall direction to the Admissions Office, Registrar’s Office Scholarship Office, Office of Financial Aid,
TRIO Programs, International Student Office, Office of Student Engagement and Leadership, the Jack B. Kelley Student
Center, the Virgil Henson Activities Center, Office of Recreational Sports, Student Government, Office of Student Conduct,
Office of Residential Living, Office of Career Services, Office of Counseling Services, Kids Kollege, Office of Educational
Services, Office of Student Disability Services, Office of Student Medical Services, Office of Veteran’s Services, Student
Success Center, Office of Student Enrollment, Engagement and Success Marketing, and ARAMARK.




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